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     5   Facsimile: (714) 520-0680

     6   Attorneys for Plaintiff

     7

     8                             IN THE SUPERIOR COURT OF CALIFORNIA

     9                               FOR THE COUNTY OF SAN BERNARDINO
    10   RONNIE D. JORDAN, an individual;                Case No. CVISB2201281

    11                  Plaintiff,                       Assigned for All Purposes to
                                                         Hon. Wilfred 1. Schneider, Jr.
    12   v.                                              Dept. S32

    13   THE ORIGINAL MOWBRAY'S TREE                     FIRST AMENDED VERIFIED
         SERVICE, INCORPORATED, a California             COMPLAINT FOR:
    14   corporation; MOWBRAY WATERMAN
         PROPERTY, LLC, a California limited liability   1. Breach of Oral Employment Contract
    15   company; RICHARD JOHN MOWBRAY, an               2. Promissory Fraud
         individual; ROBIN MOWBRAY, an individual;       3. Breach of the Covenant of Good Faith
    16   and Does 1 through 50 inclusive,                   and Fair Dealing
                                                         4. Inducement to Relocate by Means of
    17                  Defendants.                         Misrepresentations (Labor Code
                                                            §970)
    18                                                   5. Declaratory Relief- Restrictive
                                                            Provisions and Non-Compete are Not
    19                                                      Enforceable
                                                         6. Promissory Estoppel
    20                                                   7. Specific Performance of Contract
                                                         8. Quiet Title to Real Property (CCP,
    21                                                      §§760.020 & 761.020)

    22                                                   DEMAND FOR JURY TRIAL
    23                                                   Complaint Filed: January 18,2022

    24

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     1          Plaintiff for his first amended verified complaint against the defendants, and each of

     2   them, alleges and states as follows:

     3                                                    I.
     4                                             THE PARTIES
     5          A.      The "Plaintiff'

     6           1.     Plaintiff RONNIE D. JORDAN ("Plaintiff' and "JORDAN") is an individual, a

     7   citizen of the United States and as ofthe filing of this Complaint is currently a resident of the

     8   State of California.

     9          B.      The "Defendants"

    10          2.      Defendant, THE ORIGINAL MOWBRAY'S TREE SERVICE,

    11   INCORPORATED ("MOWBRAY"), is a California corporation organized on February 22,2002

    12   Secretary of State No. C2377654 doing business throughout California. MOWBRAY for times

    13   relevant to this complaint conducted business from its San Bernardino offices including those

    14   located at 686 E. Mill Street San Bernardino CA 92408. Pursuant to its Secretary of State filing

    15   ROBIN, described below, is the sole director.

    16          3.      Defendant MOWBRAY WATERMAN PROPERTY, LLC ("WATERMAN") is a

    17   California limited liability company organized on August 7, 2017 Secretary of State No.

    18   201721910272 holding title to California real property. WATERMAN for times relevant to this

    19   complaint conducted business from its San Bernardino offices including those offices located at

    20   686 E. Mill Street San Bernardino CA 92408. Upon information and belief WATERMAN is a

    21   member managed company of which ROBIN, described below, is now the Manager.

    22   WATERMAN is the sister company of MOWBRA Y and controlled by ROBIN and RICHARD,

    23   described below.

    24          4.      Defendant RICHARD JOHN MOWBRAY ("RICHARD") is an individual who

    25   for all times relevant was a control person of MOWBRAY, an officer and since October 2020

    26   President and Chief Executive Officer ("CEO") who works and resides in San Bernardino

    27   County California.

    28   II
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     1           5.       Defendant ROBIN MOWBRAY ("ROBIN") is an individual who for all times

     2    relevant was a control person of, Secretary and a Director of MOWBRA Y. ROBIN was also

     3    Chief Financial Officer ("CFO") of MOWBRA Y until February 24,2021. ROBIN is also the

     4    Manager of WATERMAN. ROBIN is the aunt of RICHARD.

     5           6.       Defendants MOWBRAY, WATERMAN, RICHARD, ROBIN and Does 1-50

     6    shall be referred to herein jointly and severally as the "Defendants" who, on and after April 1,

     7    2018 for all times relevant to this complaint, have been under the common control of first Gloria

     8    Mowbray ("Gloria") now deceased as of April 21, 2021 and now RICHARD and ROBIN.

     9    Plaintiff is informed and believes, and on that basis alleges, that at all times herein mentioned

    10    RICHARD and ROBIN and the MOWBRAY and WATERMAN and Does 1-50, and each of

    11    them, were and remain the alter-egos of each other; that they did and still do dominate, influence

    12    and control each other; that there existed and there still exists a unity of ownership between

    13    them; that the individuality and separateness of each entity was and remains non-existent; that

    14    each such entity was and remains a mere shell and naked framework which the other defendants

    15    used and still use to conduct their business affairs; that each such entity was and remains

    16    inadequately capitalized; and that an injustice and fraud upon Plaintiff will result if the

    17    theoretical separateness of the defendants as entities is not disregarded and each such defendant

    18    held liable for all relief being sought herein.

     19           7.      Plaintiff is informed and believes, and on that basis alleges, that at all times herein

    20    mentioned, Defendants, and each of them, knowingly and willfully conspired, joined and

    21    participated with each other in the conduct herein alleged in furtherance of a conspiracy between

    22    and among one another to enrich themselves at Plaintiff s expense, and that each such defendant

    23    is therefore liable with each other defendant for the conduct herein alleged, for the damages

    24    suffered by Plaintiff and for the relief being sought herein.

    25            8.      Does 1-50 are individuals and business entities, form unknown, who would be

    26    included in the joint and several references to the Defendants, who, at the time of the events

    27    described herein, were and are responsible for acts and omissions related to Plaintiff as alleged

    28    herein and, as such, should be included in this complaint as if named and included as such. The
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     1   true names and capacities, whether individual, corporate, associate, or otherwise, of such

     2   defendants are unknown to Plaintiff who therefore sues said defendants by such fictitious names.

     3   Plaintiff will amend this complaint to allege the true names and capacities of said defendants

     4   when the same are ascertained.

     5          9.      Plaintiff is informed and believes, and based thereon alleges, that at all times

     6   herein mentioned, Doe Defendants, and each of them, were the partners, members, servants,

     7   agents and/or employees of the other Defendants and in doing the things herein alleged were

     8   acting within the course and scope of their authority as such partners, members, agents, servants

     9   and/or employees and with pennission and/or consent of their co-defendants.

    10          10.     Plaintiff is informed and believes, and based thereon alleges, that, at all relevant

    11   times, RlCHARD and ROBIN, who are MOWBRAY and WATERMAN's control persons,

    12   directors, officers, shareholders and managers, have dominated MOWBRAY and

    13   WATERMAN's affairs; that a unity of interest and ownership has existed between them and

    14   MOWBRAY and WATERMAN; that MOWBRAY and WATERMAN is a mere shell and naked

    15   framework between RlCHARD and ROBIN on the one hand and MOWBRAY and

    16   WATERMAN on the other; that MOWBRAY and WATERMAN are a mere shell and naked

    17   framework for their manipulations; that MOWBRAY and WATERMAN's income was diverted

    18   to their individual use; that MOWBRAY and WATERMAN were, in effect, inadequately

    19   capitalized; that MOWBRAY and WATERMAN failed to abide by the formalities of corporate

    20   existence; and that adherence to the fiction of separate corporate existence would, under the

    21   circumstances, promote injustice, such that RICHARD and ROBIN are the alter egos of

    22   MOWBRAY and WATERMAN.

    23                                                    II.
    24                                    JURISDICTION AND VENUE

    25           11.    This Court has subject matter jurisdiction pursuant to California Constitution

    26   Article VI, section 5 and personal jurisdiction over defendants in accordance with Code of Civil

    27   Procedure § 410.10 on the grounds that a substantial portion of the actions and events giving rise

    28   to this complaint occurred in San Bernardino County, California.
                                                        3.
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     1           12.    Venue is proper before this Court because:

     2                  a.       The contract which is the subject of this Complaint was entered into

     3           requiring performance in San Bernardino County California.

     4                  b.       A least one defendant resides in its jurisdictional area.

     5                  c.       A substantial part of the acts, events or omissions giving rise to the claims

     6           occurred in San Bernardino County, California, and

     7                  d.       The parties do business and many reside in San Bernardino County,

     8           California.

     9                                                    III.
    10                                         CAUSES OF ACTION

    11                                      FIRST CAUSE OF ACTION

    12                                 Breach of Oral Employment Contract

    13             Against MOWBRAY, WATERMAN, RICHARD, ROBIN and Does 1-50

    14           13.    Plaintiff repeats and incorporates herein by reference the allegations in the

    15   preceding paragraphs of this Complaint as if set forth fully herein.

    16           14.    Plaintiff asserts this claim against MOWBRAY, WATERMAN, RICHARD,

    17   ROBIN and Does 1-50.

    18           15.    Plaintiff alleges that because of their control of MOWBRA Y, WATERMAN,

    19   RICHARD and ROBIN are and were joint employers of Plaintiff.

    20           16.    In 2018 JORDAN had established himself as a highly experienced executive in

    21   the field of vegetation management with particular emphasis on harzardous tree removal and fire

    22   control and restoration for major utility companies including Pacific Gas and Electric ("PGE")

    23   and Southern California Edison ("SCE").

    24           17.    In May 2018 JORDAN and his wife Phyllis Jordan ("Phyllis") were residents of

    25   the State of Florida. JORDAN and Phyllis also maintained a residence in North Carolina at that

    26   time.

    27           18.    JORDAN was gainfully employed full time in Florida.

    28   II
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     1            19.   MOWBRA Y was a family owned company working in the tree service industry.

     2   II

     3            20.   In May 20 18 MOWBRAY was experiencing significant difficulty managing its

     4   growth opportunities under the direction of Rick Mowbray ("Rick"), the Operations Manager of

     5   MOWBRAY and son of Gloria Mowbray ("Gloria") who then controlled all of its common

     6   stock. Rick is the father of RICHARD and brother of ROBIN. Rick negotiated vigorously with

     7   the power and authority of Gloria to recruit JORDAN to relocate from Florida to California to

     8   take over as CEO of MOWBRA Y.

     9            21.   In fact MOWBRAY was in serious need of a Chief Executive Officer who could
    10   lead MOWBRAY to the next level of opportunity with increasing revenue and profits and cash

    11   flows.

    12            22.   In April 2018 JORDAN visited MOWBRAY's California offices in person

    13   spending time with Rick and members of the staff. During those meetings Rick and his team

    14   explained that while MOWBRAY could reach a level of $70,000,000 to $80,000,000 in revenues

    15   it was unable to control costs, make pricing adjustments and evaluate and contract for work to be

    16   consistently profitable. Rick and the staff, in particular Alan Phang ("Phang") then controller and

    17   now Chief Financial Officer, further explained that MOWBRAY required gross revenue of

    18   $6,000,000 per month to simply breakeven and typically had only 2-3 weeks of cash on hand to

    19   keep operating. Rick explained that MOWBRAY critically needed new leadership to make

    20   MOWBRAY profitable.

    21            23.   Further, Rick and Phang MOWBRAY admitted to JORDAN, before he accepted

    22   the CEO position, that the company required revenue of $6,000,000 per month just to breakeven

    23   and for the period January 1,2018 through May 31,2018 had Total Revenue of$25,839,872 and

    24   for the four months ended April 30, 2018 a loss of $3, 425, 443.

    25            24.   JORDAN indicated he was up to the challenge and accepted the position as of

    26   May 28, 2018 which required that he terminate his Florida employment and relocate from Florida

    27   to San Bernardino County California to become the CEO.

    28   II
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     1          25.     The May 28, 2018 "Oral Agreement" JORDAN mutually reached with Rick on

     2   behalf of MOWBRA Y provided the following agreed upon material tern1S:

     3                  a.        JORDAN was hired as CEO of MOWBRA Y for a term of five years

     4          effective May 28,2018 through May 27,2023 and could only be terminated for good

     5          cause or death.

     6                  b.        JORDAN would receive an annual salary of $250,000.

     7                  c.        Phyllis would receive an annual salary of$55,000.

     8                  d.        JORDAN would receive 10% of the net operating profits of MOWBRA Y.

     9                  e.        JORDAN would be provided housing commensurate with his CEO status

    10          without charge during the term.

    11                  f.        JORDAN and Phyllis would each receive new sport utility vehicles every

    12          two years which would be transferred to them free and clear upon termination.

    13                  g.        At the end of the term in 2023 JORDAN would receive $30,000 to

    14          relocate.

    15          26.     After JORDAN and Phyllis relocated and started work in California JORDAN

    16   devoted long hours to make MOWBRAY a success.

    17          27.     JORDAN's leadership soon turned MOWBRAY around from the loss of

    18   $3,425,443 to a profit as of December 31,2018 of $3,096,637, a positive swing from the net

    19   profits JORDAN's leadership generated of $6,522,080.

    20          28.     Further, recall that Rick and Phang told JORDAN that MOWBRAY required

    21   Revenue of $6,000,000 per month to breakeven. JORDAN's leadership generated record

    22   revenues of $92,621 ,862 for the full year of 20 18 an increase in revenue of $66,781,990 from the

    23   $25,839,872 as of May 31,2018. Therefore, under JORDAN's direction MOWBRAY enjoyed

    24   monthly average revenue in the period June 1, 2018 through December 31, 2018 period of

    25   $9,540,284.

    26          29.     Operating income for the period June 1, 2018 to December 31 2018 was

    27   $6,522,080 for which JORDAN was entitled to a bonus of 10% of the profits or $652,208.

    28   However, amidst excuses about how the calculation would be made he was paid $50,000 with
                                                          6.
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     1   the promise that MOWBRA Y would continue to look into the amount due.

     2          30.      In May 2019 JORDAN was leading MOWBRAY to another record year and Rick

     3   wanted to express his appreciation to JORDAN and Phyllis with improved housing. On May 10,

     4   2019 Rick and ROBIN caused WATERMAN to acquire a single family residence commonly

     5   known as 1515 Lucas Land, Redlands, CA 92374-2758 (the "Property") San Bernardino County

     6   for $681,500. Rick explained that as a result of JORDAN's excellent work making MOWBRAY

     7   millions that JORDAN would be entitled to occupy the Property until the end of his five year

     8   term. JORDAN continued his hard work and CEO and he and Phyllis immediately moved into

     9   the Property.

    10          31.      In late 2019, while now having a huge year and after still not receiving what he

    11   believed was the right bonus for 2018, JORDAN prepared a memorandum of the oral agreement

    12   as set forth at Paragraph 25 above and set out in the copy of which appears at Exhibit "A" and

    13   sent it to Rick and MOWBRAY while he continued to work diligently to increase revenue, avoid

    14   losses, institute contract revisions, and pricing and control of costs.

    15          32.      While JORDAN continued to work diligently and from time to time inquire about

    16   the status of the draft contract he had sent to Rick, Rick developed problems with the family and

    17   was abruptly terminated by Gloria through his son RICHARD and ROBIN in February 2020.

    18   Gloria called JORDAN and told him that she wanted him to promise that he would never leave

    19   MOWBRAY to which he responded he loved his position and planned to stay well into 2023.

    20           33.     Notwithstanding the family turmoil, JORDAN's leadership in 2019 resulted in

    21   breakout revenues of $213,780,199 and operating income of $17,084,495. JORDAN is entitled to

    22   10% of the profits or $1,708,449. Again, following Rick's termination, RICHARD and ROBIN

    23   made excuses about the calculations and after payments in February of2020 JORDAN had

    24   received $250,000 towards what they claimed would be his bonus. RICHARD and ROBIN were

    25   also aware of the written draft agreement that JORDAN sent to Rick.

    26           34.     In 2020 JORDAN had MOWBRA Yonce again on its way to yet another best year

    27   in its history. By midyear 2020, the forecast was for revenue in excess of $400,000,000 with not

    28   less than a 12% operating profit.
                                                 7.
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     1           35.    On or about September 2020 JORDAN was approached by attorney Stephen Cho

     2   ("Cho") of the finn CKB Vienna, LLP ("Vienna Finn") general and litigation counsel for

     3   MOWBRA Y. Cho was aware of the JORDAN contract terms agreed to with Rick and the writing

     4   that JORDAN had sent to Rick at Exhibit "A". Cho and JORDAN had become friends over his

     5   employment term given the extensive contract and litigation work the Vienna Finn undertook on

     6   behalf of MOWBRA Y. Cho advised JORDAN that effective in October 2020, RICHARD and

     7   ROBIN wanted him to give up his title as CEO to become Executive Vice President so that

     8   RICHARD could assume the CEO role. At that time Cho advised JORDAN that he should not

     9   be concerned because he would be compensated the same and have the same power and

    10   authority.

    11           36.    Notwithstanding Cho's statement on behalf of MOWBRAY, JORDAN who

    12   dutifully remained ready and willing to continue what could only be described as his stellar

    13   performance was marginalized and cutoff from company information.

    14           37.    JORDAN was also advised in October 2020 by RICHARD, ROBIN and Cho in at

    15   various times that because of the substantial benefit conferred on MOWBRAY, ifhe stayed and

    16   continued his hard work, then when his employment term ended he would be entitled to title to

    17   the Property free and clear. JORDAN agreed to do so.

    18           38.    Upon information and belief, based upon where MOWBRA Y was at financially in

    19   October 2020, total revenues for 2020 were $450,000 and operating profits at a forecast 12%

    20   would be $54,000,000 which entitles JORDAN to his 10% or $5,400,000.

    21           39.    Again, based on estimates JORDAN believes 2021 total revenues are estimated at

    22   $200,000,000 and operating profits estimated 12% would be $24,000,000 which entitles

    23   JORDAN to his 10% or an estimated $2,400,000.

    24          40.     JORDAN will revise and refine his calculations after he is provided with the

    25   actual financial information which he has been precluded access to since October 2020.

    26          41.     On January 7, 2022 MOWBRAY abruptly terminated JORDAN and has failed to

    27   pay JORDAN the 10% of net operating profits as promised which is a breach of the oral

    28   agreement as follows:
                                                 8.
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     1                    a.     2018 with the 10% profit share of $652,208 less $50,000 paid amount due

     2           $602,208.

     3                    b.     2019 with the 10% profit share of $1,708,449 less $250,000 paid amount

     4           due $1,458,449.

     5                    c.     2020 with the 10% profit share of $5,400,000 less $0 paid amount due

     6           $5,400,000.

     7                    d.     2021 with the 10% profit share of $2,400,000 less $0 paid amount due

     8           $2,400,000.

     9                    e.     Total bonus payments due solely on unpaid profit sharing $9,860.657.

    10           42.      At all times continuing to the present, JORDAN has fulfilled all of his obligations

    11   under the terms of the contract andlor been excused from performing by Defendants' conduct.

    12           43.      Notwithstanding the good cause requirement, JORDAN was terminated on

    13   January 7, 2022 without just cause, notwithstanding the remaining contract term.

    14           44.      Within the 2 years prior to the filing of this complaint Defendants have breached

    15   the contract by inter alia failing and continuing to fail to pay the 10% of net profits due and deed

    16   the Property to Plaintiff upon termination under the oral employment contract. Under the Labor

    17   Code, Defendant MOWBRAY, WATERMAN, RICHARD, ROBIN and Does 1-50 were

    18   obligated to pay JORDAN all amounts due him, i.e., his profits participation, convey the deed to

    19   the Property free and clear, immediately at the time that he was fired on January 7,2022, which

    20   they did not do.

    21           45.      JORDAN has performed all obligations due to MOWBRAY and WATERMAN

    22   under the contract andlor been excused from perfonnance by Defendants' conduct.

    23           46.      As a result of Defendants' breach of the contract, JORDAN has suffered damages

    24   in excess of $10,000,000 and loss of his rights to title to the Property according to proof at the

    25   time of trial.

    26   II

    27   II

    28   II
                                                  9.
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     1                                    SECOND CAUSE OF ACTION

     2                                            Promissory Fraud

     3             Against MOWBRAY, WATERMAN, RICHARD, ROBIN and Does 1-50

     4          47.     Plaintiff repeats and incorporates herein by reference the allegations in the

     5   preceding paragraphs of this Complaint as if set forth fully herein.

     6          48.     Plaintiff asserts this claim against MOWBRAY, WATERMAN, RICHARD,

     7   ROBIN and Does 1-50.

     8          49.     On May 28,2018 Rick on behalf of MOWBRA Y induced plaintiff to enter into a

     9   contract of employment with defendant by which it was orally agreed between the parties that

    10   Defendants would employ Plaintiff and Plaintiff would work for Defendants upon the Oral

    11   Agreement terms described in paragraphs 25, 30, 31 and 41 above inclusive.

    12          50.     On May 28, 2018 Rick of MOWBRA Y promised that if JORDAN terminated his

    13   employment in Florida and relocated to California as MOWBRAY's full time CEO for a period

    14   of five years, terminable only for death or good cause, that Plaintiff was eligible to receive, and

    15   would receive, the compensation, 10% of the net profits of MOWBRAY while he was employed,

    16   and two company cars free and clear at the end of the five year term.

    17          51.     Later in October 2020 RICHARD, ROBIN and Cho promised JORDAN that ifhe

    18   accepted the change in title from CEO to Executive Vice President that nothing would change

    19   and he would be entitled to free and clear title to the Property free and clear at the time of his

    20   termination.

    21          52.     On May 28,2018 Plaintiff began his employment with Defendants and continued

    22   in such employment until January 7,2022 when he was wrongfully terminated and the Oral

    23   Agreement was breached.

    24          53.     Upon commencement of Plaintiff's employment with Defendants he led

    25   MOWBRA Y to record revenues and profits.

    26          54.     Defendants were all fully aware of the tenns of the Oral Agreement having access

    27   to and reviewed the draft at Exhibit "A" and thereby ratified its terms by virtue of JORDAN's

    28   continued employment without objection.
                                                 10.
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     1          55.     On September 16, 2020 Defendants delivered their signature on a written

     2   employment agreement (copy attached as Exhibit "B") that Cho of Vienna Firm had prepared on

     3   behalf of MOWBRA Y and presented to JORDAN on a take it or leave it basis with the promise

     4   and assurance that nothing would change in his authority and ability to lead MOWBRAY as

     5   CEO while wrongfully materially modifying the profit sharing to breakpoints. As ROBIN had

     6   explained MOWBRAY wanted to change the terms and use gross revenues not net profits as the

     7   measure for such bonuses. While JORDAN did not agree he signed the document believing that

     8   if he did not he would not receive his bonus for 2018 and 2019 and would be terminated.

     9   Because the written contract only applied to periods after January 1,2020 JORDAN reasoned he

    10   was still entitled to his bonus. Moreover, JORDAN relied upon Cho, RICHARD and ROBIN's

    11   statements that nothing would change in the relationship.

    12          56.     Then to JORDAN's great surprise in October 2020 RICHARD and ROBIN

    13   implemented an immediate and material change to Plaintiffs employment terms and took away

    14   all of his power and authority to run the business, eliminated his CEO title and gave it to

    15   RICHARD, and refused to discuss his entitlement to bonuses from the Oral Agreement.

    16          57.     Plaintiff is informed and believes and based thereon alleges that MOWBRAY did

    17   not intend to pay Plaintiff when Rick make the initial representations to get him to relocate from

    18   Florida and that MOWBRAY intended that Plaintiff rely on the representations so that

    19   Defendants could reap the benefits of Plaintiffs services.

    20          58.     Plaintiff relied on Defendants' promises to fully compensate Plaintiff and such

    21   reliance was reasonable because of the many promises made by Rick, the outstanding record

    22   revenues and profits he achieved, the relationship he had built with RICHARD while mentoring

    23   him, as well as his belief that Rick, RICHARD, ROBIN and MOWBRAY were trustworthy and

    24   honorable.

    25          59.     Defendants, despite their promise to pay Plaintiff, failed and refused to pay

    26   Plaintiff pursuant to the Oral Agreement. As a direct result of Defendants' failure to live up to

    27   their promise to pay Plaintiff, Plaintiff has been damaged in an amount not less than $10,000,000

    28   plus interest and costs, which continue to accrue, to deliver title to the vehicles and deed to the
                                                         11.
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     1   Property free and clear. Plaintiffs reliance on Defendants' promises to compensate him was a

     2   substantial factor in causing Plaintiffs harm, because without the promises Plaintiff would not

     3   have entered into the Oral Agreement and would not have terminated his Florida employment,

     4   relocated to California and continued to provide services to MOWBRAY.

     5           60.     The acts of Defendants were done with conscious disregard of Plaintiffs rights,

     6   and with the specific intent to defraud Plaintiff into entering into the Oral Agreement and

     7   providing services to MOWBRAY, such as to constitute fraud, oppression and malice under

     8   California Civil Code section 3294. By virtue of Defendants' willful and wrongful conduct,

     9   Plaintiff is entitled to punitive and exemplary damages.

    10                                     THIRD CAUSE OF ACTION

    11                       Breach of the Covenant of Good Faith and Fair Dealing

    12             Against MOWBRAY, WATERMAN, RICHARD, ROBIN and Does 1-50

    13           61.     Plaintiff repeats and incorporates herein by reference the allegations in the

    14   preceding paragraphs of this Complaint as if set forth fully herein.

    15           62.     Plaintiff asserts this claim against MOWBRAY, WATERMAN, RICHARD,

    16   ROBIN and Does 1-50.

    17           63.     Implied in every contract is a covenant of good faith and fair dealing by which the

    18   contracting parties are bound.

    19           64.     Plaintiff has performed all obligations required by the Oral Agreement to the

    20   extent not excused by the conduct of MOWBRAY, WATERMAN, RICHARD, ROBIN and

    21   Does 1-50.

    22           65.     MOWBRA Y, WATERMAN, RICHARD, ROBIN and Does 1-50 breached the

    23   Oral Agreement by failing to provide Plaintiffs 10% profit sharing in an amount to be

    24   determined according to proof at the time of trial as well as the title to the vehicles and the

    25   October 2020 promised deed to the Property.

    26           66.     Plaintiff sustained loss, injury and financial damages including the loss of his

    27   rightful 10% profits interest as well as the title to the vehicles and deed to the Property, in an

    28   amount according to proof at the time of trial as a result of MOWBRAY, WATERMAN,
                                                           12.
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     1   RICHARD, ROBIN and Does I-50's breach of the covenant of good faith and fair dealing due

     2   and owing to Plaintiff as above described.

     3                                     FOURTH CAUSE OF ACTION

     4            Inducement to Relocate by Means of Misrepresentations (Labor Code § 970)

     5             Against MOWBRAY, WATERMAN, RICHARD, ROBIN and Does 1-50

     6           67.      Plaintiff repeats and incorporates herein by reference the allegations in the

     7   preceding paragraphs of this Complaint as if set forth fully herein.

     8           68.      Plaintiff asserts this claim against MOWBRAY, WATERMAN, RICHARD,

     9   ROBIN and Does 1-50.

    10           69.      MOWBRA Y through Rick made multiple misrepresentations to Plaintiff in order

    11   to induce him to leave secure employment and his place of residence in Florida and relocate to

    12   San Bernardino County, California. Those misrepresentations were known to Defendants who

    13   while reaping the millions in revenues and profits from JORDAN's work said nothing to

    14   dissuade his continued good work and efforts.

    15           70.      Plaintiff acted in justifiable reliance on MOWBRAY's promises by giving up his

    16   job and moving from Florida to work for MOWBRAY in San Bernardino County, California.

    17           71.      MOWBRAY knew that the representations made to Plaintiff were false.

    18   MOWBRAY used the misrepresentations to induce Plaintiff to relocate. MOWBRAY could not

    19   have induced Plaintiff to relocate ifit had been honest about MOWBRAY's ability and intention

    20   to pay him his 10% of net profits as promised and to convey the title to the vehicles and later as

    21   promised in October 2020 the deed to the Property.

    22           72.      As a proximate result of the MOWBRAY representations, Plaintiff was persuaded

    23   to and did terminate his employment and move from Florida to San Bernardino County

    24   California for the purpose of working for MOWBRAY, thereby suffering damages including loss

    25   of his 10% net profits interest, title to the vehicles and incurring expenses all subject to proof at

    26   time of trial.

    27           73.      Plaintiff was damaged by the loss of his 10% net profits, the title to the vehicles

    28   and other costs according to proof.
                                                  13.
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     1           74.     Cal~fornia Labor Code section 973 provides for double damages resulting from

     2   MOWBRA Y's false representations. Plaintiff alleges that double damages entitles him to not less

     3   than twice the $10,000,000 and other damages claimed in the First Cause of Action, subject to

     4   proof at the time of trial.

     5           75.     The aforementioned conduct of MOWBRA Y was an intentional

     6   misrepresentation, deceit or concealment of a material facts known to MOWBRA Y with the

     7   intention of depriving Plaintiff of property or legal rights or otherwise causing injury, and was

     8   despicable conduct that subjected Plaintiff to cruel and unjust hardship in conscious disregard of

     9   Plaintiff s rights so as to justify an award of exemplary and punitive damages against

    10   MOWBRAY as well as WATERMAN, RICHARD, ROBIN and Does 1-50 each of which

    11   ratified such conduct, subj ect to proof at the time of trial.

    12                                       FIFTH CAUSE OF ACTION

    13         Declaratory Relief- Restrictive Provisions and Non-Compete are Not Enforceable

    14                                   Against MOWBRAY and Does 1-50

    15           76.     Plaintiff repeats and incorporates herein by reference the allegations in the

    16   preceding paragraphs of this Complaint as if set forth fully herein.

    17           77.     Plaintiff asserts this claim against MOWBRAY and Does 1-50.

    18           78.     The disputed written agreement attached as Exhibit B contains restrictions that are

    19   alleged to prevent JORDAN, who is not now nor has he ever been a shareholder of MOWBRA Y,

    20   from working in the industry that he has worked in for over twenty years.

    21           79.     A dispute has developed between MOWBRAY and JORDAN as to the scope of

    22   these restrictive provisions.

    23           80.     JORDAN asserts that the written agreement is void or voidable as it was procured

    24   by fraud, a promise made without intention of performing.

    25           81.     Without waiving JORDAN's position that the written agreement at Exhibit B is

    26   void or voidable, and solely as an alternative claim, JORDAN contends that he has no trade

    27   secret information nor any information that would prevent his employment by anyone in the same

    28   industry as MOWBRA Y and that any contention that the agreement contains any in substance
                                                    14.
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     1   and effect non-competition clause it is not enforceable as a matter of public policy because

     2   JORDAN did not own any stock of MOWBRA Y which is being redeemed.

     3           82.     Upon information and belief MOWBRA Y asserts that it can, in substance and

     4   effect, prevent JORDAN from working for competitors.

     5           83.     The declaratory relief sought concerns a present, ascertained or ascertainable state

     6   of facts or present controversy as to whether or not the written agreement at Exhibit "B" is void,

     7   voidable or otherwise enforceable and the scope thereof.

     8           84.     WHEREFORE, Plaintiff prays that this Court grant him a declaration and

     9   judgment against MOWBRAY and Does 1-50, as of a date certain determined at the time of trial,

    10   for judgment that said agreement at Exhibit "B" is void or voidable at Plaintiff's option, and that

    11   he may work in the same industry as MOWBRAY without restriction, and for such other and

    12   further relief as is just and equitable.

    13                                       SIXTH CAUSE OF ACTION

    14                                              Promissory Estoppel

    15                      Against MOWBRAY, RICHARD, ROBIN and Does 1-50

    16           85.     Plaintiff repeats and incorporates herein by reference the allegations in the

    17   preceding paragraphs of this Complaint as if set forth fully herein.

    18           86.     Plaintiff asserts this claim against MOWBRAY, RICHARD, ROBIN and Does

    19   1-50.

    20           87.     As set forth above, the Oral Agreement, the terms of which MOWBRAY,

    21   RICHARD, ROBIN and Does 1-50 had actual notice of, required that Plaintiff diligently assist

    22   Rick, MOWBRAY, RICHARD, ROBIN and Does 1-50 in pursuit if its operations and business

    23   plan.

    24           88.     Plaintiff did in fact diligently assist Rick, MOWBRAY, RICHARD, ROBIN and

    25   Does 1-50 in pursuit of its operations and business plan.

    26           89.     Rick, MOWBRAY, RICHARD, ROBIN and Does 1-50 were fully apprised ofthe

    27   aforementioned services provided by Plaintiff from inception of the Oral Agreement as well as its

    28   terms through the date of commencement of his services as CEO.
                                                      15.
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     1           90.     Plaintiffs reliance on the promise that those with notice of his diligent service and

     2   work in accordance with the Oral Agreement and its terms, specifically Rick, MOWBRAY,

     3   RICHARD, ROBIN and Does 1-50, would pay and compensate him for the services that he

     4   provided in the manner set out in the Oral Agreement was both reasonable and foreseeable.

     5           91.     Plaintiff suffered significant financial detriment in reliance on MOWBRAY,

     6   RICHARD, ROBIN and Does I-50's promises, which were knowingly ratified and affirmed by

     7   each of the Defendants.

     8           92.     The Doctrine of Promissory Estoppel prevents MOWBRAY, RICHARD, ROBIN

     9   and Does 1-50 from asserting that there was no acceptance and/or consideration for

    10   its/his/her/their agreement to compensate Plaintiff in accordance with the Oral Agreement and

    11   the promise concerning title to the Property in October 2020.

    12           93.     As a direct and proximate result of MOWBRA Y, RICHARD, ROBIN and Does

    13   I-50's failure to perform according to the promises and representations which it/he/she/they

    14   made and assumed, Plaintiff sustained damages in that he has not received his promised 10% of

    15   net profits, title to the vehicles and the deed to the Property free and clear, as well as other

    16   damages according to proof.

    17                                    SEVENTH CAUSE OF ACTION

    18                                    Specific Performance of Contract

    19             Against MOWBRAY, WATERMAN, RICHARD, ROBIN and Does 1-50

    20           94.     Plaintiff repeats and incorporates herein by reference the allegations in the

    21   preceding paragraphs of this Complaint as if set forth fully herein.

    22           95.     Plaintiff asserts this claim against MOWBRAY, WATERMAN, RICHARD,

    23   ROBIN and Does 1-50.

    24           96.     Plaintiff has an enforceable Oral Agreement and modification as of October 2020

    25   that entitles him to title to the Property free and clear. Plaintiff since January 7, 2022 when he

    26   was terminated JORDAN has been ready, willing and able to receive title but MOWBRAY,

    27   WATERMAN, RICHARD, ROBIN and Does 1-50 have breached the agreement, as above

    28   alleged, without justification, thereby excusing Plaintiff s continued performance and after notice
                                                          16.
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     1   Defendants continued their breach refusing to convey title.

     2   II

     3           97.    Plaintiff alleges the Oral Agreement provides and provided consideration in the

     4   form of Plaintiffs performance as CEO then changed from CEO to Executive Vice President and

     5   his occupancy of and caring for the Property.

     6          98.     Plaintiff alleges the consideration thereby provided by JORDAN pursuant to the

     7   Oral Agreement and change in title to Executive Vice President is good and new consideration.

     8           99.    Plaintiff alleges that his performance of the Oral Agreement and change in title to

     9   Vice President meets all of the standards of Sutton v. Warner (1993) 12 Cal. App. 4th 415, 422

    10   (hereafter Sutton) specifically: "[t]he doctrine of part performance by the purchaser is a

    11   well-recognized exception to the statute of frauds as applied to contracts for the sale or lease of

    12   real property." "Under the doctrine of part performance, the oral agreement for the transfer of an

    13   interest in real property is enforced when the buyer has taken possession of the property and

    14   either makes a full or partial payment of the purchase price, or makes valuable and

    15   substantial improvements on the property, in reliance on the oral agreement."Bold and

    16   underline added, Sutton, 12 Cal. App. 4th 422 citing 1 Miller & Starr, Cal. Real Estate 2d

    17   (1989) § 1:60, p. 168.

    18           100.   Plaintiff s performance met all of the Sutton standards. Specifically Plaintiff

    19   entered the Property and took exclusive possession while providing substantial employment

    20   services" full or partial payment of the purchase price ... [P]roperty, in reliance on the [Oral

    21   Agreement and title change]."

    22           101.   Under the Sutton based theory, Plaintiff has thereby performed all covenants,

    23   conditions, and promises in accordance with the terms and conditions of the Oral Agreement and

    24   change in title, except for those obligations Plaintiff was prevented or excused from performing

    25   by Defendants' breaches.

    26           102.   As a direct and proximate result of Defendants' failure to transfer the Property to

    27   Plaintiff, as required under the Oral Agreement and change in title on or before January 7,2022,

    28   Plaintiff has been damaged in an amount according to proof at trial, together with interest
                                                       17.
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     1   thereon.

     2          103.    Despite the demands by Plaintiff, Defendants refused and itlhelshelthey have

     3   continued to refuse to convey to Plaintiff the grant deed to the Property in accordance to the Oral

     4   Agreement and change in title.

     5          104.    Plaintiff has no adequate remedy at law because the Oral Agreement and change

     6   in title described herein includes consideration for real property, and pursuant to Civil Code

     7   section 3387 money damages are presumed inadequate for its breach.

     8          105.    Plaintiff prays for specific performance of the contract since:

     9                  a.      The legal remedy is inadequate;

    10                  b.      The underlying Oral Agreement and change in title is reasonable and

    11          supported by adequate consideration - that is performance of the employment services

    12          and the value of the Property price to be conveyed on tennination is fair and reasonable;

    13                  c.      A mutuality of remedies exists;

    14                  d.      The contractual terms of the Oral Agreement and change in title are

    15          sufficiently certain such that the court knows what it is to enforce; and

    16                  e.      The requested performance is substantially similar to that promised in the

    17          Oral Agreement and change in title.

    18          106.    Based on the foregoing, Plaintiff is entitled to the equitable remedy of specific

    19   performance to receive conveyance of the Property deed from Defendants in accordance with the

    20   terms set forth in the Oral Agreement and change in title.

    21          107.    As a result of Defendants' breach, Plaintiff has suffered incidental damages by

    22   virtue of the delay and refusal of Defendants, in conveying the Property, including attorneys fees

    23   and costs and any other damages allowed by law according to proof.

    24           108.   As a result of Defendants' breach of the contract, Plaintiff has suffered damages in

    25   an amount in excess of the jurisdiction of this Court.

    26   II

    27   II

    28   II
                                                18.
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     1                                    EIGHTH CAUSE OF ACTION

     2                      Quiet Title to Real Property (CCP, §§760.020 & 761.020)

     3             Against MOWBRAY, WATERMAN, RICHARD, ROBIN and Does 1-50

     4           109.    Plaintiff repeats and incorporates herein by reference the allegations in the

     5   preceding paragraphs of this Complaint as if set forth fully herein.

     6           110.    Plaintiff asserts this claim against MOWBRAY, WATERMAN, RICHARD,

     7   ROBIN and Does 1-50.

     8           111.    W A TERMAN holds title to the Property, a single family residence, commonly

     9   known as 1515 Lucas Land, Redlands, CA 92374-2758 San Bernardino County for which it paid

    10   $681,500 with the following Legal Description contained in the Grant Deed attached hereto as

    11   Exhibit "C" and further described below:

    12          LEGAL DESCRIPTION

    13          THE LAND REFERRED TO HEREIN BELOW IS SITUATED REDLANDS, IN THE

    14          COUNTY OF SAN BERNARDINO, STATE OF CALIFORNIA, AND IS DESCRIBED

    15          AS FOLLOWS:

    16          LOT 46 OF TRACT NO. 18979, IN THE CITY OF REDLANDS, AS SHOWN ON

    17          MAP FILED IN BOOK 347, PAGES 1 THROUGH 5, INCLUSNE OF MAPS, IN THE

    18          OFFICE OF THE COUNTY RECORDER OF SAN BERNARDINO COUNTY,

    19          CALIFORNIA.

    20          Parcel Number 0168-XXX-XX-XXXX.

    21           112.   As described in the First and Seventh Causes of Action MOWBRAY promised

    22   JORDAN free and clear title to the Property owned by its sister company WATERMAN at the

    23   end of his contract term.

    24           113.    Code of Civil Procedure section 761.020, subdivision (d) provides "the complaint

    25   shall ... include ... the date as of which the detennination is sought."

    26           114.   Plaintiff seeks to quiet title to the Property as of January 7, 2020 or such other

    27   date as the court shall determine.

    28   II
                                                 19.
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     1           115.    Upon information and belief, MOWBRAY, WATERMAN, RICHARD, ROBIN

     2   and Does 1-50 did not intend to perfom1 the promise while JORDAN agreed to the change in

     3   title, moved into the Property and took care of it as his own, and presently resides in the Property

     4   as his residence.

     5           116.    Plaintiff seeks to quiet title to the Property as of January 7, 2022 against

     6   Defendants, and for a judicial declaration and judgment that:

     7                   a.     As of January 7,2022, or such other date as the court shall determine, that

     8          none of the Defendants, including without limitation MOWBRAY, WATERMAN,

     9          RICHARD, ROBIN and Does 1-50, has any right, title or interest to the Property; and

    10                   b.      For such other relief as the Court deems proper.

    11                                      NINTH CAUSE OF ACTION

    12                              Intentional Infliction of Emotional Distress

    13                Against MOWBRAY, WATERMAN, RICHARD, ROBIN and Does 1-50

    14           117.    Dismissed without prejudice.

    15                                                     IV.

    16                                        JURY TRIAL DEMAND

    17           118.    Plaintiff demands a trial by jury for all causes of action so triable.

    18                                                     V.
    19                                         PRAYER FOR RELIEF

    20          WHEREFORE, Plaintiff prays for judgment against Defendants, jointly and severally as

    21   follows:

    22           1.      For compensatory damages in an amount according to proof.

    23          2.       For special damages in an amount according to proof.

    24           3.      For punitive and exemplary damages in an amount according to proof.

    25          4.       For double damages pursuant to Labor Code ~970.

    26           5.      F or a declaration and judgment that Plaintiff is free to pursue gainful employment

    27   without restriction for either alleged trade secret or proprietary information and/or non-

    28   competition.
                                                 20.
                                  FIRST AMENDED VERIFIED COMPLAINT
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     1          6.       For title to the vehicles presently in possession of Plaintiff and his wife Phyllis

     2 free and clear.
     3          7.       For title to the Property conveyed free and clear of debts and liens to Plaintiff.

     4          8.       F or such other and further relief as may be just and proper.

     5          9.       F or attorneys fees and costs per contract as the case may be.

     6          10.      F or costs of suit incurred.

     7          II.      F or statutory damages, if any.

     8          12.      For statutory attorney fees and costs, if any.

     9          13.      For prejudgment and post judgment interest, according to law.

    10
    11   DA TED: July 25, 2022.                                                           "ORATION

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                 1                                             VERIFICATION

                 2            I, Ronnie D. Jordan, am plaintiff in the above-entitled action. I have read the foregoing

                 3   FIRST AMENDED VERIFIED COMPLAINT FOR: 1) Breach of Oral Employment Contract; 2)

                 4   Promissory Fraud; 3) Breach of the Covenant of Good Faith and Fair Dealing; 4) Inducement to

                 5   Relocate by Means of Misrepresentations (Labor Code §970); 5) Declaratory Relief- Restrictive

                 6   Provisions and Non-Compete are Not Enforceable; 6) Promissory Estoppel; 7) Specific

                 7   Performance of Contract; 8) Quiet Title to Real Property (CCP, §§760.020 & 761.020) and know

                 8   the contents thereof. The same is true of my own knowledge, except as to those matters which

                 9   are therein stated on information and belief, and as to those matters, I believe it to be true.

               10             I declare under penalty of perjury under the laws of the State of California that the

               11    foregoing is true and correct.

               12
                                    7/25/2022
               13 DATED:
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                                                              By:
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   May 28,2018

   Re: Employment Contract between Ronnie Jordan and The Original Mowbray's Tree Service, Inc.

   Ronnie Jordan has accepted the position of CEO for The Original Mowbray's Tree Service, Inc. (hereafter
   referred to as "Mowbray's") for the term of 5 years; effective May 28 th , 2018, and terminating on May
   27 th,2023. Renewal ofthe employee contract between Ronnie Jordan and Mowbray's will be executed,
   as applicable, 90 days before the end ofthe current contract period.

   Ronnie Jordan will receive an annual salary of $250,000.00, and will be entitled to 10% of all Mowbray's
   profits. Profits for this employee contract are defined as revenue minus operational expenses.
   Operational expenses are defined as salaries and wages for employees that are approved by Ronnie
   Jordan, normal operating expenses that include office rental and equipment associated with business
   expenses that are approved by Ronnie Jordan, equipment expenses that are approved by Ronnie Jordan,
   insurance and legal fees approved by Ronnie Jordan, and any other applicable business costs approved
   by Ronnie Jordan. Bonus pool structure and discretionary monies shall be distributed after the profits
   for each fiscal year have been determined.

   Phyllis Jordan will receive an annual salary of $55,000.00.

   Mowbray's will supply housing with utilities for the duration of the employment contract. Mowbray's
   will provide Ronnie Jordan 90 days written notice to vacated prior to the termination of the contract.

   Mowbray's will pay for full Medicare and Blue Cross for both Ronnie and Phyllis during the full term of
   the contract.

   Travel home will be as needed not to exceed once a month (unless emergency arises). Travel
   arrangements shall be first-class at Mowbray's expense.

   Vehicles to be replaced with new SUV's (equivalent to a fully loaded Chevy Tahoe) every 2 years and
   upon the completion of the contract, Phyllis and Ronnie will also each receive brand new SUV's
   (equivalent to a fully loaded Chevy Tahoe), purchased by Mowbray's, and registered in Phyllis and
   Ronnie's names. Ronnie Jordan's salary will be uplifted prior to the termination of the employment
   contract to cover the tax liability for the two SUV's.

   Mowbray's will pay for moving expenses from Florida to Yucaipa, California. Upon completion of the
   contract, Ronnie Jordan will receive $30,000.00 to re-Iocate to the destination of his choice.

   Signature:

   Ronnie Jordan: _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ Phyllis Jordan: _ _ _ _ _ _ _ _ _ __

   Date: _ _ _ _ _ _ __

   Mowbray's Authorized Signature(s)

   Signature #1: _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ Printed Name: _ _ _ _ _ _ _ _ _ _ __

   Signature #2: _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ Printed Name: _ _ _ _ _ _ _ _ _ _ __

   Date: _ _ _ _ _ _ _ __
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                                  Exhibit B
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                                             Employment Agreement
This Employment Agreement (the "Agreement,,) is made and entered into as of January 1,2020, by and between Ronnie
Jordan (ihe "Executlw') and The Onglna! Mowbray'~ Tree Services. Inc., a California corporation (the "Company").

WHEREAS, the Company desires to employ the Executive on the terms and conditions set forth herein; and

WHEREAS, the Executive desires to be employed by the Company on such terms and conditions.

NOW, THEREFORE, in consideration aHhe mutual covenants. promises, and obligations set forth herein. the parnes agree as
mllom:
1. le.rm. The Executive's employment hereunder shall be effective as of January 1, 2Q20 (the UEffective Date; and shall
continue until the third annlversary thereof, unless terminated earlier under Section 5 of this Agreement The period during which
the Executive is employed by the Company hereunder is hereInafter referred to as the "Employment Term."

2. Position and Duties.

       2.1 Posman. During the Employment Term, the Executive shal! serve as the Chief Executive Officer of the Company,
     reporting to 'ihe board of directors of the Company (the "Board"). In such positlon, the ExecutIve shall have such duties,
     authorlty, and responsibilities as shall be determined from time to tIme by the BoattL The Board, 10 its sole discretion, has
     the rlght and authority to change the duties, authorlty, responsibilities, and title of 'the Executive.

       2.2 ~. During the Employment Term, the Execullve shal! devote substantially aU of executIve's bUSIness time and
     attention to the periormahC9 of the Executive's duties hereunder and will not engage in any other business, profeSSion, or
     occupation for compensation or otherwise whIch would conflict or interfere with the performance of such services either
     dire cay or indirectly without the prior written consent of tne Board. Notwithstanding the foregoing, me Executive will be
     permitted to (a) With the prior written consent ofths Board (which consent can be Withheld by the Board in its sole discretion)
     act or serve as a director, trustee, commitlee member, or prIncipal of any type of business, civlc, or charitable organization
     as long as such activities are disclosed in writing tethe Board, and (b) purchase or own less than five percent (5%) of the
     publicly traded securities of any corporation; provided that, such ownership represents a passive Investment and that the
     Executive is not a controlling person of, or IS member of a group that controls, such corporation; provided further thai. the
     acrtlv!ties described in clauses (a) Bnd (b) do not interfere with the performance of the Executive's duties and responsibillties
     to the Company as provided hereunder, Including, but not Qmited to, theobligatlons outlined in Section 2 hereof.

 3. Place of Performance. The principal place oftne Executive'S employmeni shall be the Company's prlnnlpal executive office:
 provided that, the Exeoutive may be reqUIred to travel on ComP3ny busioG""~ during the;> ErnploYlflent Term.
 4. Compensatlon.

        4,1 Base Salary. The Company shall pay the Executive an annual base salary of $250,00Q.00 in periodic installments in
      accordance with the Company's customary payroll practices and applicable wage payment laws less payroll deductions
      and all required wlthho\tiings. The Executive's base salary may not be decreased during the Employment Term other than
      as part of an across-fha-board salary reduction that appller. in ilie sama manner to all senior executives. The ExecutJve's
      annual base salary, as in effect from time mtlma, Is h:ef~inaftei referred to as "Base Salary».

         4.2 Annual Bonus.

           (a) For each complete calendar year ofthe Employment Term, the Executive shall be eligible to receive an annual
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            bonus (the *Annual Bonus"}. As of the Effective Date, the Executive's annual bonus opportunity shall be based
            on the achievement of the Company's performance soala as folloWS:

                j,    If the Company aohieves $2.00,00Q.000.00 in annual revenue per year (as determined by the Compafl)h,
                      CPA's review of ftnancials), the Executive wlH receive a bonus of $500,000.00.
                i\. The Executive will receive an additional bonus of $2.50,000.00 for every addltional $50,000,000.00 In
                      annual revenue above $20Q,000,000.00.
                 iii. In addition to the annual revenue markers. the Company must achieve at least five percent (5%) in net
                       proffte for me Execuuve to be eligible to receive the Annual130nus as prescribed above. If the net proflts
                      for the Company are less than 5%, the Annual Bonus shall be reduced based on the percentage of net
                       profits on a pro-rata basis, For example, if the Company achieves $265,000,000 in annual revenue 'for
                       202.0, anCl ;;<y,,+ of net profits, the Executive would be entitled to ~750,OOO.OO, but if the net profits equal
                       3% ($7,950,000) of the annual revenue. the ExecutiVe would recefue $450,000.00.

       (b) The Annual Bonus. if any, will be paid wlthln the first quarter after the end of the applicable calendar if the
       Company's cash flow permits.

       (c) Except as otherwise provided in Section 5, to be eliglble to receIve an Annual Bonus, the Executive must be
       continuously employed by the Company l.hrough the last day of the applicable calendar year.


     4.3 Signir10 Bonus. The Company shall pay the Executive a lump sum cash slgning bonus of $250,000.00 {ihe "Signing
   Bonus') wlthln six (0) months following ihe Effective Date; provided l.hat, the Executive shall repay the gross amount of the
   Signing Bonus if, before December 31, 2020, iha Executive terminates the Executive's employment without Good Reason
   (as defined below) or the Company terminates the Executive's employment for Cause {as defined below).

     4.4 .Additional Compensation. Tne ExecuflVe shall be eligible to receive a long-term incentive al1lard upon completion of
   the Employment Term. At ihe end of the Employment Term, 1515 LUCia~ Lane, Redlands, CA 92375 ("Property·)
   (Approximate value of $900,{}00.00, including Improvements), the 2019 Land Rover Range Rover (VIN No,;
   SALGV5REOKA542328) and 2020 GMC Yukon (YIN No. 1GKS2CKJKLR119169) will b~ transferred to the Executive; all
   taxes will be the Executive's responsibility as with any other compensation.

     4.5 fringe Benefits and Perquisites, DurIng the Employment Term, the Executive shall be entitled to fringe benefits and
   perquisites consistent with the practices of the Company and goveming benefit plan requirements ~ncltldlng plan eligibility
   provisions}, and to the extent f the Company providea similar benefits or perquisites (or both) to simllarly ~itual:ed executives
   of the Company. Notwlthstandlng the foregoing, during t,e Employment Term, the Company shall provide the Executive
   with the use of the 2019 Land Rover Range Rover {VIN No.: SALGV5REOK(542328) and 2020 GMC Yukon (\lIN No,
   1GKSZCKJKLR119169), current company housing at the Property, and non-business travel benefits.

      4.6 Emolovee Benefits. During the Employment Term, the executiVe $hall be entitled to partiolpate in all employee benefit
   plans, practices, and programs maintained by the Company, as in effect from time to time (collectively, "Employee Benefit
   Plans') I on a basis which is no less favorable than IS provided to other SImilarly sItuated executives of ihs Company, to the
   extent consistent with applicable law and the terms of the applicable Employee Benefit Plans. The Company reserves the
   right to amend or terminate any Employee Benefit Plans at any time in its sole discretion, subject to the terms of such
   Employee Benefit Plan and applicable law.

       4.1 Vacation; Paid Time Off, During the Employment Tarm, the Executive will be entitled to paid vacation on a basis that
    is at least as favorable as that provided to other similarly situated executives of the Company. The Executive shall receive
    other paid time off in accordance with the Company's policies for executive officers as such policies may existirom time to
    time.
       4.g Business I:xpenses. The Executive shall be entitled to reimbursement for all reasonable and necessary out-of-pocket
    business, entertainment, and travel expenses Incurred bv thG Ex,"cunv<l>. in ",onn<>ction wtl:h Ih.. lXIrform::>nC"""" of th...
    S~_",,,,,d¥ ..'''' d'-'<i_~ ...~,_un......- .n ""OQn:.!t:.ncc Wltll me company-s expense reImbursement poliCies and procedures.

      4,9 Indemnification, In theeventthaHhe Executive Is made a party orthreatened to be made a party to any action, suit,
    or proceeding, whether cMI, crimlnal, administratIve, or investlgatlve (a "Proceedlngj. other than any Proceeding initiated
    by the Executive or the Company related to any contest 'Or dispute between the Executive and the Company or any of its
      affiliates with respect to this Agreement or the ExecutiVe· ~ employment hereunder; by reason of the fact that thr; Executive
      is orwas a direotor or officer of the Company, or any affiliate of tile company. or is or was SGlVing at the request of me
       company asa o!rector, officer, member, employee, or agent of another corporation or a parlnemj,ip, jOint venture, trUst, or
       ottter enterprises, the Executive $hall be Indemnified and held harmless by me Company {to the fullest extent appllC1!>ble to
                        fficer or direclor of "the ComplSny/tC> the ~Ximum """.. nt permitted tinder applicable> law and the Company'\)
                      m and against any liabilities, costs, claims, and expenses, Including all costs and expenses Incurred In defense
   ~~,~<. ",c~;;.~ p~~~edin~L(includln9 att0l1!~~ te~).:-9J?§ts gndJ3Blel1ses !Q~~g~yth~ExecutlV~efense of ~c:h Procee,dl!lg
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    (including a!tomeys' fees) shall be paid by the Company in advance of the final disposition of such litigation upon receipt by
    the Company of: <n a written request for payment; (iI) appropriate documentation evldenclng the incurrence, amount, and
    nature of the costs and expenses for which payment is being sought; and (iii) an undertaking adequate under applicable
    law made by or on behalf of the Executive to repay the amounts so paid If it shall ultimately be determined that the Executive
    ia not entitled to be indemnified by the Company under this Agreement.

5. Terminatlon of EmQlovment. The Emp!oyment Term and ihe Executive's employment hereunder may be terminated by either
the Company arms Executive at any time and fur any reason; provided that. unless otherwise provIded herein, either party shail
Ill=! r~qui~ad to give the oi~er party at least eo days advance written notice of any termination of the Executive's employment 011
terminatIon of the Executive's employment during the Employment Term) the Executive shall be entitled to the compensation
and benefits descriQOO in this Section 5 and shall have no further rights to anY c.omoensation or any nth~r nSMtrn from the
Oompany or any of it'5 esftillate5.

       5.1 For Cause, or Without Good Reason,

          (a) The Executive's employment heratmder may be terminated by the Company for Cause, or by the Executive without
          Good Reason. If the Executive's employment Is terminated by the company for Cause, or by the Executive without
          Good Reason. the Executive shall be entltled to receive:

               many accrued but unpaid Base Salary ana accrued but unused vacation Which shall be paid on the Terminaiion
               Oate (a$ defined below);

               (Ii) reimbursement for ooreimbursed business expenses property incurred by the Executive, which shall be subject
               to -and paId in accordance with the Company's expense reImbursement policy; and

               (iii) such employee beMfits, iT any, to which the Executive may be entitled underihe Company's employee benefrt
               plans as ofilia Termination Date.

           Items 5.1 (a){i) through 5.1 (a)Oii) are referred to herelnco!lectively as the "Accrued Amountsn

           (b) For purposes ofihis Agreement, uCauseft shalt mean:

                Ci) the Executive's failure to perform executive's duties (other than any such failure resultlng from incapacity due
                to physical or menta! illness);

                ell) the Executive's failure to comply with any valid and legal directive of the Board;
                (iii) the Executive's engagement in dlehonesty, megal conduct, or misconduct, which Is, In eaGfl case, injurious to
                the Company or its affiliates;

                (iv) the Executive's embezzlement misappropriation, or fraud, whether or noi related fa the Executive's
                employment with the Company;

                M the Executive's conviction af or plea of guJlty or nolo contendere to a crime that constitutes a felony (or state
                 law equivalent) or a crime that constitutes a misdemeanor involving moral turpitude;

                 (vi) the Exe<;vtive'~ violation of \:he Company's written policies or codes of condoct, including written policies
                 related to discrimination, harassment the performance of illegal or unethical activIties, and ethlcal misconduct:

                 (vii) the Executive's willful unauthorized disclosure of Confidential Information {as defined below);

                 (VIU} the Executive's material brsach of any materJal obligation under this Agreement or any o;hQr wmt"",
                 agreement between the Exacutive and the Company;
                 (Ix) the Executive's engagement in conduct that brings or is reasonably likely to bring the Company negative
                 pUblicity or into public disgrace, embarrassment, or disrepute;

                 (x) the Executive's engagement In any competitive activity; or
                  (xi) the Executive's engagement in conduct that is a conflict of Intarest.
             (c) For purposes ofthis Agreemem. "Good Reason" shall mean the occurrence of any of the following, in each case
             during the Employmel'l1 Term without {he Executive's wrlttsn conSGnt:
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         all similarlv sItuated executives in substantially the same proportions;

          (ii) a material reduction in the ExecutiVe's Annual Bonus opportunity;

          (iii) relocation of the ExecuDve's principal place of employment by more than 100 mUes;

          (IV) eny material breach by the Company of any material provisIon of this Agreement; or

          (v) the Company's failure to obtain an agreement from any successor to the Company to assume and agree to
          perform this Agreement in the same manner and to the same extent that the Company would be required to perform
          if no succe5sion had taKen Place, except where such assumptlon occurs by operation of law:
      The Executive cannot terminate employment for Good Reason unless the Executlve has provided written notice to the
      Company of the existence of the circumstances providIng grounds for termination for Good Reason within ien (10) days
      of the initial existence of SUC.1 groundS and the Company has had at least thirty (30) days from the date on which such
      notice is provided to cure such circumstances.

     S..2Witt!ou! Cause or for GooO Reason. The Employment Term and the Exec4iive's employment hereunder may be
  terminated by the Executive for Good Reason or by ilie Company without Cause. In the event of such termination, the
  Executive shall be entitled to receiVe 'the Accrued Amounts and subject to the Execut!lle's compliance with Section 6,
  Section 7, Section S, and Section 9 of thiS Agreement and the Executive's execution of a release of claims in favor of the
  Company, its mtiliates, and their respec'tive officers and directors in a form provided by the Company (the "Release") and
  such Release becomlng effective wIthIn 30 days following the Termination Date (stICh 3~-day period, the "Release
   Execution Penod"). the Executive shall be entitled to receive the follOWing:

      {a} An Annual Bonus based on the annual revenue (for the applicable calendar year) for the company up to the
      Termination Date, For example, if the Executive terminates employment for Good Reason (and the Termination Date
      is October 31, 2021) and the annual revenues at the time the Termination Date 1s $205,000,000.00, the Executive shal!
      raceive$5OO)OOO.OO. This amount shall be paid v.'lthin the first quarter after the end of the applicable calendar in which
      the Termination Date occurs; and

       (b) AddlUonaJ l;ompensatlon as follows: The Executive wm be given a prorated (joller amount based on lhe number of
       full months employed before the Termination Date mUltiplied by *25,000.00. For example, IHhe Executive completes
       sixteen (16) months of the Employment Term, the Executive shall receive $400.000"00. This amount shall be paid
       within the first quarter after the end of the applicable calendar in which the Termination Date occurs.

     5.3 Death or Disability.

       (3) The Executive's employment hereunder $hall termInate automatically on 1he Executive's death or Disability during
       the Employment Term.

       (b) If the Executive's employment is terminated during the Employment Term on account of the Executive's death or
       Dl&abtlity! the EXecutIVe (or the Executive's estate andfor beneficiaries, as the case may be) shall be entitled to reCeive
       the following:

            (I) the Accrued Amounts;

            (iI) an .Annual Bonus based on the annual revenue {for the applicable calendar year) for the Company up to the
            date of Executive's death or Disability. For example, jf the Executive dies Of becomes disabled (and the death or
            Disability Date is October 31, 2021) and the annual revenue at lhe Ume death or DIsability is $205.000,000.00, the
            ExecuDve (or the Executive's estate and/or beneficiaries, as the case may be) shall receive $500,000,00, ThiS
            amount shall be paid wlthin tile flrst Quarter after tne end of the applicable calendar in whIch the death or DisablHty
            occum; ant:.!
             (iii) the ExecuDve (or the Executtve's estate andJor beneficiaries, as the case may be) w!!lbe gIven a prorated
             dollar amount based on the number of full months employed before death or DIsabIlity multiplied by $25,000.00.
             For example, if the Executive completes sixteen (16) monihs of the Employment Term. Executive (or the
             Executive's estate andJor beneficiaries, al) th;case may be) shall recelve $400,000.00. This amountw\thin the
             Tirst quarter after the end of tha applloable oo!endar in whicll the death Of Disability occurs.

         (c) For purposes of this Agreement. "Disabilityn shall mean the Executive's inablllty, due to physical or menta!
         Incapacity, to perform the essential functIons of the Executlve's job for one hundred eighty (iBO) daYs out of any three
         hum:lloo s!xty~flve {365} day psriod or om; tmndmd twanty {120) consecutive days. Any qua&tlon e~ to the existenoe Qi
         the Executivels Disability as to which the Executive and the Company cannot agree shall be d9~rmin(;ld in woting by iii
       _.Bua\ifiecttrJdeREmdent EhY1!!£!!!'l-ffi.!:!lu.l!llt acceptable to the Ex~iv~... and the ~QmF,J~n~~uti~lld the
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       Company cannot 3gree as to a qualified independent physician, each shall appoint such a physician and those two
       physicians shall select a third who shall make such determination in wilting. The determination of Disablllty made in
       writing to the Company and the Execunva shall be final and conclusive for aU purposes of this Agreement.
      5A Notice ofTermination. Any termination ofthe Executlve's employment hereunder by the Company or by the Executive
   during the Employment Term {other fuan termination pursuant to Section 5.3(a} on account of the Executive's death) shall
   01$ communicated by written notice of termInation (~Notjce of Termlnat!on") to the other party hereto in accordance with
   SecUon 27. The Notice of Termination shall specify:

        (a) The termination provision of this Agreement relied upon;

        (b) To th~ extent applicable, the facts anti Circumstances claimed 10 pro\lide a baSIS for termination of the Executive's
        employment under the provIsion so indicated; and

        (c) The applicable Termination Date.

      5.5 Termination Date, The Executive's ~Termlnation Oate~ shall be:
        (a) If ihe Executive's employment hereunder terminates on account of the Executive's death, the date of the
        Executive's death;
         (b) If me Executive's employment hereunder is terminated on account of me Executive's Disabmty, the date that it is
         determined that the Executive has a Ol6abllfty;

         (c) lfthe Company 'terminates the ExecutIve's employment hereunder for Cause, ihe date ihe Notice of Term1nation is
         delivered to the Executive:

         (0) If the Company termlnales me Executive's employment hereunder without Cause, the date specified in the Notioa
         ofTerminatlot1, which shall be no less than 60 days following the date on which the Notil;le ofTerminatlon is delivered;

         (e) If the Executlve terminates his employment hereunder with or without Good Reason, the date specified in the
         Executive's Notice of Termlnaiion, which shall be no less than 60 days folloWing the date on which the Notioooi
         Term!nation is delivered; provided that, the Company may waive all or any part. of the fiO-<lay notice period for no
         consideration by $11I1n9 written notice to the executive and for all purposes of this Agreement the Executive's
         Termination Date 1$hall be the date determIned by the Company; 3.nd

       5.6 Resignation of All Other Positions. On termination of the Executlve's employment hereunder for any reason, the
     Executive shall be deemed to have resigned from all positions that the Executive holds as an officer or member of the Board
     (or a committee ihereof) of iha Company or any of its affiliates,

       5.7 Vaca:fjng Property. On lermiflation of the Executive's employment hereunder for any reason, the Executive and any
       other resident of the Property must vacate the Property within 30 days of the Termlnauon Date.
 6. Coooeration. The parties ag~e that cenaln metiers: in which !he Executive wi!! be Involved during the Employment Term may
 necessitate me Executive's cooperation tn the futufS. Accordingly, following the termination of the Executive's employment for
 any reason, to the extent reasonably fSlijuested by the Boam, the ExecutIve shall cooperate with the Company In connection
 with maUers arlsing out of the ExeGUuve's service to the Company; provided that, the Company shall make reasonable efforts
 to mlnlm[ze dIsruption of the Executive's other aotivlties. The Company shan reimbursetM Executive for reaoonable expenses
 incurred in connection with SUCh cooperation and, to the extent that the Executive is required to spend substantial time 011 such
 maners, the Company shall compensate the Executive at ~n hourly rete,
 1. Confidential I nfurmaUon. The E~w\Jtive ufI!:lerslam:is and acknowledges that during the Employment Term, the Executive will
 have access to and learn about Confidentlallnfarmgtlon, as deiiMd below.
        7.1 CormdentiallnformatiQ!} Dennett

           (a) Definition.

           For purposes ofthls Agreement, 'confldentiallnformatlon" Includes, but is not Ilmitsd to, all information not generally
           known to the public, In spOKen, printed, electronic oralW omerform or medium. relating directly orlndlrectlyto: business
           processes, practices. methods. policies, plans. publications, documents, research, operatIons, services, strategies,
           techniques. agreements. contracts, terms of agreements. transactions, potential transactfons, negotiations, pending
                . . ns. know.nnw. tma"" """"TAt", "''''mpuwr pN9l1l1ma. computer $oftWelf(;j 1:Ipplivallon5, operating systems,
                are design,60UfGe rode, web design, wolt"in.,prccess. ctatabssGs. manuals, records, articles. systems, mat(;lrl~l,
           sources of material. SUQQlli~Llnfo'1Jlatfon. vQndor infol'mation. fil1~upiaUnforma~,~;>ult,7!~¥!!~~LI¥ntinJL!~!i0n,
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      accounting records. legal information. marketing information, advertising information, pricing information. credit
      information, design information, payrollinrormation, staffing information, personnel information, employee lists, supplier
      !liSts) vendor lists, developments, reports, internal conlrols, security procedures, graphics, drawings, sketches. market
       studies. sales information. revenue, costs, fonmulae, notes, communications. algorithms, product plans, designs, styles,
       mode!s., Ideas, aud)ol/lsusl programs. inventions, unpublished patent applications, anginal works of authorship,
       discoveries, experimental processe~, experimental results, specifications, customer information, customer lists, client
       information, cHent lists, manufacturtng Information, factory lists, distributor lists, and buyer lists of the Company or its
       businesses or any existing or prospective customer, supplier, investor or other associated third party, or of any other
       person or entity that has, entrusted information to the Company in confidence,

       The Executive understands that the above list IS not exhaustive and that Confldentiallnformation also includes other
       Information that I:; marked or otherw:lse identlfied as confidential or proprietary, or that would othef\vlse appear to a
       reasonable person to be confidential or proprietary In me context and circumstances in which the information is known
       or used,
       The Executive understands and agrees that Confidential Information lncludes information developed by Executive In
       the course of employment by the Company as if the Company furnished the same Conflc\entiallnformation to the
       E.xecutive in tile first instance. Confidentlal infonmatlol'l shall not Include Information that is generally available to and
       known by the public at the 'time of disclosure to the E.xecutlve; provided that, such disclosure is through no direct or
       Indirect faull of the Executive or person(s) acting on the Executive's behalf.

       (b) Company Creation and Use of Confidential Information.

       The Executive understands and acknowledges that the Company has Invested, and continues to invest, substantial
       time, money. and specialized knowledge Into developing Its resources, creating a customer base, generating customer
       and potential customer lists, traIning Its employees, and Improving its offerings. The Executive understands and
       acknowledges that as a result of these efforts, the Company has created, and continu6s10 use and create Confidential
       Information. This Confidential Information provides the Company with a competitIve advantage over others in the
       marketpiace.

        (c) D!sclosure and Use RestrIctions.

        The Executive agrees and covenants: (i) to treat all Conficfentlallnformanon as strictly confidential; (lj} not to directly or
        Indirectly disclose, publish, communicate, or make available Confidential Information, or allow it to be disclosed,
        published, communicated, or made avanable. In whole or part, to any entity or person whatsoever (including other
        employees of the Company) not having a need to know and auihority to know and use the Confidential Information in
        Gonnection with the bUsiness of the Company end, in any event, not to anyone outside of the direct employ of the
        COmpany except as required in the performance of the ExecutIve's authorized employment dUfies to the Company (and
        then, such disclosure shall be made only within the limite and to the extent of such duties or consent); and (iii) not 10
        access or USe any Confidential Information, and not to copy any dOCUments, records, files, media, or other resources
        containins any Confidential Information, or remove any such documena, records, flies, media, or other resources from
         the premIses or control of the company, except as required in the performance of the Executive's authorized
         employment duties to the Company (and then. sueh disclosure shall be made only wlthin the limits and to 1lle extent of
         such duties or consent),

         Cd) Permitted dIsclosures. Nothing herein snalltle construed to prevent disclosure of Confidential Information as may
         be required by applicable law or regulation, or pllrsuant to the valid order 01 a court of competent jUrisdiction or an
         authort~ed government agency. provided thai: the disclosure does not exceed the extent of disclosure required by such
         law, regulation, or ordar.
 8. Restrictive Covenams,

        b., A",knowleugemeot. Tile oecunve unaerstanOs that 'the nature oUlie Executive's position g!ves the Executlve access
     to anc! /<''1owledge of Confidentlal Information and places 'the Executive in a posIUon of trust and confidence with the
     company, TIte ExecutIve understands and acknowledges fum the intellectual oranlstlc services the Executive provides to
     the Company are unique, .special, or extraordinary.

       TIle EXecutive further understands and acknowledges that the Company's ability to resews these for the exc!uslve
     knowledge and use of the Company is of great competitive imporlance and commerclal value to the Company, and that
     improper use or disclosure by the Executive is likely 10 result in unfair or unlawful competitive activity.
        8.2 ~~" BgcougSt cif the .Ccmpsny·s illlgitim,,,*,,, bu"ln_ Int...reot tI.<); t;le;ltirll::l!r:d hereIn and tl1egwo ano
     valuable consideration offered to the Executive, during the Employment Term. the Executive agrees and covenants not to
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        For purposes of this Section 8, "Prohibited Activity" is actMty in which the Executive contributes the Executive's
   knowledge. directly or indirectly, In whole or in part, as an employee. employer, owner, operator, manager, advisor,
   consultant, agent, employee, partner, director, stockholder. officer, volunteer, Intem. Of any other slmllar capacity to an
   entity engaged 1n the same or similar business as the Company. InOluding those engaged in the business of vegetation
   management. Prohibited Activity also includes activity that may require or Ineviiably requires disclosure of trade secrets,
   proprietary information. or Confidential Information.

      Nothing herein shall prohibit the Executive from purchasing or owning less than five percent (5%) of the publicly traded
   securitIes of any corporation, provided that such ownershlp represents a passive investment and that thB ~Mutive IS noi
   aoontrolling person Of, or amember of agroup that controls. such corporation.
      This Section B does not. in any way, restrict or impede the Executive from exercising protected rights to the extent that
    such rights cannot be wai\led by agreement or from complying with any applicable law or regulation or a valid order of a
    court of competent jurisdiction or an authorized government agency. provided that sl.Ich compliance does not exceed that
    required by the law, regulatIon. or order.

       s.3 NQn~Solicitatlon of Emplovees. During the period that the Executive is employed by the Company and, In the event
    of termination, for two years, to ruTIconsecutively, beginning on the last day of the ExeGutlve's employment with the
    Company, the Executive agrees and covenants not to disrupt or Interfere with the business of the Company by directly or
    indirectly soilclt1ng, recruiting. attempting 10 recruit. or raIding the employees of the Company. or otherwise inducing the
    termInation of employment of any employee of the Company. The Executive also agrees and covenants not to use 311y of
    the Company's trade secrets andior confidential Information to directly or indirectly solicit the employees of the Company.

      8.4 Non-Solicitation of Customers. The Executive understands and acknowledges that because of the Executive's
    experience With and relationship to the Company, the Executive will have access to and learn about much or all of the
    Company's customer Information, "Customer lnformatlon~ includes, but Is not limited to, names, phone numbers,
    addresses, email addresses.orderhlstory.orderpreferences.chainofcommand.decisionmakers.pricing information, and
    other information Identifying facts and circumstances specific to t'ne customer.

          The Executive understands and acknowledges that loss of thls customer relationship and/or goodwill will cause significant
        and irrsparable harm.

          The Executive agrees and covenants, for a period of 3 years, beginning on lhe last day of the Executive's employment
        with the Company, not to use any olihs Company's trade secrets and/or confidential or proprietary information to directly
        or Indirectly sollcit the cl.Istomers/clie,'1ts of the Company. or to interrupt, disturb. Of Interfere with the relationships of the
        Company with its customersJcllents, directly or indirectly sOliclt, contact (including but not limited to email, regular mall,
        express mail, telephone. fax, instant message, or social media}, attempt to contact, or meet with the Company's current.
        former or prospective customers for purposes ·01 offering or accepting goods or $(frvioes similar to Of competftlve with those
        offered by me Company.

 9. Non-Disparagement. The Executive agrees and covenants that the Executive will not at any time make, publish, or
 communicate to any person cOr entity or in any public forum any defamatory at disparaging remarks, comments, or statements
 concerning the Company or Its businesses, or any of its employees, officers, and existing and prospectiVe customers. suppliers,
 investore, and other aSSOCiated third parties,

 Thl~ Section £1 does not, In any way, restrlct or impede the Executive from exerclsing protected rights to the extent that such
 rlghts cannot be waived by agreement 01' from complying with any applicable law or regulation or a velld Qrder of a court of
 competent jurisdiction or an authorli!;ed government agency, proVided that such compliance does not exceed that required by
 the law, regulation, or order.

 The Company agrees and covenants that it shall direct its officers and directolS to r/¢\1mil'l from moklng any defamatory or
 rnsoaraolno t'arn-"rk:St. commmnt$-" or~ $tat1f!ltl1'1.eMt~ eOn04tl:f'n.tMQ: i~ Gx~uth,f$ 1'.0 any ~hlrd PQrti.u~
 "to. Acknowledgment The Executfve acknowledges and agrees that the services 10 be rendered by the Executive to the
 Company are of a special and unique character; that the ExecUllve will obtain knowledge and sklll relevant to the Company's
 industry, methods of doing bUsiness and marketing strategies hy virtue ofihe Executive's employment: end that. the restrictive
 covenants and other terms and conditiQn5lJf1l11s f\greernent all! reasonsble end reasonably necessary to protect the legitimate
 bu~ineS5 interest of1he Company.

  The Executive furlheracknowledges that the benefits provided to the Executive under thIs Agreement, including the amount of
  the E.xecutive's compensation, reflects. In part, the Executive's Obligations and the Company's rights under Section I, Section
  8, and Section 9 of 1hls Agreement; that the ExecutiVE> l1~s no expevta!inn of any additlonal compensatlon, royalties, or other
  payment of any kind not otherwise referenced herein in connection herewifu; and that the Executive will not suffer undue hardship
  !!y ~ason of tg[J'~~lTIQJj!flCe with ~IDJlJ~~1!'!'i£or:clition~_<?f~~!~tI2!LZ!J?ectl2.!'lA~an! Secti~9 of this A~~~~~: IDe
 Case 8:24-bk-12674-TA                       Doc 141-1 Filed 10/25/24 Entered 10/25/24 13:22:23                                                      Desc
                                                  Exhibit A Page 35 of 73


CompanY'$ enforcement 1I1er60f.

11, Reme{iies. In the event of a breach or threatened breach by the Executive of Section 1, Section 8, or Sectlon 9 of thi&
Agreement, the Executwe hereby COl1serns and agrees mat the Company shall he entitled to seek, in addition to other avallable
remedies, a temporary or permanent injunction or other equitable relief against such breach or threatened broach from any COUf!
of competent jurisdiction, and that monay damages would not afford an adequate remedy, without the necessity of showing any
actual damages. and without the necessity of posting any bond or other security. The aforementioned equitable relief shall be
in addition 1:0, not in lieu of, legal remedIes, monetary damages, or oiher available forms of relief,

12, Eragrletarv Riohts,

        12.1 War\<: Product. The Executive acknowledges and agrees that all right, title,and interest in and to all writings. works
     of auihorship, technology, inventions, discoveries, processes, techniques. methods, ideas, concepts, research, proposals,
     materials, and aU other work product of any nature whatsoever. that are created, prepared, produced. authored, edited,
     amended, conceived, or reduced to practice by the Executive Individually or JOIntly with others durlng the Employment Term
     and relate In any way to the business or contemplated business, products, activities, research, or development of the
     Company or result from any work performed by the ExeCtllive for the Company (in each case, regardless of when or where
     prepared or whose eqUipment or otl1er resources IS used In preparing the same). all rights and claims ralated to the
     foregoing. am;! all 'Printed, physical and electronIc copies, and other langible embodiments thereof {collectively, Work
     ProduGt"), as wef! as any and all rights In and to US and foreign (a) patents, patent disclosures and inventions (whether
     patentable or not). (b) trademarks, service marks. trade dress, trade names, logos, corporate names. and domain namea,
     and other slmllar designations of sautee or origin, together with the goodWill symbolized by any of the foregoing. (c)
      copyrights and copyrightable works (including computer programs), and rights in data and databases, (d) trade secrets,
      knOW-how, and other confidential information, and (e) an other intellectual property rights, in each case whether registered
      or unregIstered and including all registrations and applications for, and renewals and extensions of, such rights, all
      Improvements thereto and all ~fmi!ar or equivalent rights or forms of protection in any part of 1I1e world {collectively.
      "Intellectual Property Rights,,}, shall be the sole end e1<clusive property onhe Company.

         For purposes of this Agreement, Work Product inclUdes, but 1s not limited 10, Company information, including plans,
      publications, research, strategies, techniques. agreements, doCtlments, contracts, terms of agreements, negotiations,
      know~how, computer programs, computer appllcatlol1S, software design, web design, work In process, databases, manuals,
      resultlS; developments, reports. graphICS, draWIngs, sketches, market studies, formulae, notes, communications, algorithms,
      product plans. product designs, styles, models. audiovisual programs, inventions, unpublished patent applications, original
      works of authorship, discoveries, experimental processes, experimental results, speciflcatlons, customer Information, client
      lnformation, customer lism, dient lisb>, manufacturing information, marketing Information, advertising information, and sales
      information.

         12.2 Work Made for Hire; Ass!gnment The executIve acknowledges that, by reason of being employed by the Company
      at the relevant times, to the extent permitted by law, all of llie Work Product consisting of copyrightable subject matter is
      "work madeiorhire" as defined In 17 U.S.C. § 101 and such copyrights are therefore owned by ttleCompany, Tattle exient
      that the foregoing does not apply, the Executive hereby 1                           the Company, for no additional consideration,
      the Executive's entire right, 'litle, alid interest in and to                and Intellectual Property Rights therein, including
      the right to sue, counterclaim. and recover for all past, present, and future infringement, mlsappropnation, ordilt.rllon thereof,
      and all rights corresponding thereto throughout the. world. Nothing contained in this Agreement l>hall be construed to reduce
       or Ilmit the Company's rights, title, or interest in any Work Product or Intellectual Prop~rty Rights so as to be less in any
       raspect than that the Company would have had in the absence Of this Agreement.

         12..3 Further Assurances; Power of Attomel. Ouring and after the EmploymentTerm. the Executive agrees to reasonably
       cooperate with the Company to (a) apply for, obtaIn, perfect. and transfer to the Company the Work Product as well as anY
       and alllotelleC\iJal Property Rights In the Work Product in any jurisdiction in the world; and (0) maintain. protect and enforce
       the same, Including. without limitation. giving testimony and executing and delivering to the Company any and all
       applications. oaths, declarations, affidavits, waivers, assignments, tlnd. othor documents and lr\suuments as shall bli>
       ,,,,,.,,,.,,,f,,,,d by <I->., ¢on,I''''''Y- ,he E>ce",..,\l~c h .. ,,,,(;,y lrrevoc-"O,Y grants the pompany· ;:xr.ver of I1!ttorney to exeouta aile! dellver
       "my "''''01'1 oocumelJtl> on mil< El\;acutivc'S oehalf In !'lIs name and to 00 all other la,vfully permitted acts io transfer the Work
       Product to the Company and further the transfer. prosecution. Issuance, and maintenance of alllntellectuaJ Property Rights
       tJ1ersin. to the full extent permitted by law, lfthe Executive does not promptly cooperate with 11113 Company's request (without
       limiting the rights the Company shall have in such circumstances by operation of law). The power \}f attorney is coupled
       With an im13rest and shall not be affected by th~ Executive's subsequent incapacity.
          12.4 No LlceDse. The executiVe understands that this Agreement does not and shall not be construed to, grant the
        executive any license or right of any nature with respecito any Work Product or Intellectual Pro'Perty Rights or any
        Confidential Informatfon. materials. software. or ofher tools made available to the Executive by the Company.
   13.. Saeuritv.
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    13.1 8ecurliV and Access. The Executive agrees and covenants (a) to comply with all Company security policies and
  procedures as in force from time to time including without limitatIon those regarding computer equipment, telephone
  systems, volcemail systems, facilities access, monitoring, key cards, access codes, Company Intranet internet, social media
   and instant messagIng systems, computer systems, email systems, computer networKS, document storage systems,
   software, data security, encl)lption. firewalls, passwords and any and all other Company facilities, IT resources, and
                                                                                                                 rt
   communication technologies {"Facilities and Information Technology .Resources (b) not to access or use any Facilities
                                                                                                                      );

   and lnformation Technology Re$ouroee except as authorized by the Company; and (ili) not to access or use any Facillties
   and Information Technology Reeources in any manner after the terminatlon of the Executive's employment by the Company,
   whether tarminstion i& voluntary or involuntary. The Executlve agrees to notify the Company promptly in the avent ihe
   Executlve learns of any vIolation of the foregoing by others or of any olller misappropriation or unauthorized access, use,
   reproduction I or reverse engineering of, or tampering with any Facilitiesancl Information Technology Resources or other
    company property or materials by others,

       132 Exlt Obliaations. Upon (a) voluntary or involuntary termination of the Executive's employment or (b) the Company's
    request at any time during the Executive's employment, the Executive shall (i) proVide or retum to the Company any and all
    Company property. including keys, key cards, access cards, identification cards, seclirity devices, employer credit cards,
    network access devices, computers, cell phones. smartphones. PDAs. pagers. fax machines, eqUipment, speakers,
    wabcams, manuals, reports, files, booi<;$, compilatIons, wort< product, email messages, recordings, tapes, diSKS, thumb
    drives, or other removable information storage devIces, .hard drives, negatives, and data and aU Company documents and
    materials belongIng to the Company and stored in any fashion, including but not limited to those that constitute or contain
    any ConfidertJa! Information or WorK Product, thai are in the possession or control of the Executive, whetner they were
    provided to the Executive by the Company or any of its business associates or created by the Executivli'> in connection with
     the Executive's employment by the Company, and (Ii) delete or destroy all copies of any such documents and materials not
     returned to the Company that remain in the Executive's possession or control, Including mose stored on any non-Company
     devices, networks, storage locatIOns, and media in the Executive's posseSSion or control.

14.~. The Executive hereby irrevQcably consents to any and all Uses and displays, by the Company and its agents,
representatives, and licensees, oHhe ExecutIVe's name, voice, likeness, image, appearance, and biographical information In,
on or in connection with any pictures, photographs, audio, and video recordings, digital Images, websites, teleVision programs
and advertising, other advertising and publiCity, sales and marketing brochures, bOOKS, magazines, other publications, CDs,
DVDs, tapes, annal! other prInted and electronic forms and medIa ihroughout the WOrld, at any time duflng or after the
Employment Term, for all legitimate commercial and bUSIness purposes of the Company ("Permitted Uses") witheUl further
consent from of royalty, payment, or other compensation to the Executive. The Executive hereby forever waives and releases
the Company and its directors, officers, employees, and agents from any and all claims, actions. damages, losses, costs,
expenSes, and Ifabllity of any kind, arising under any legal Qr equitable theory whatsoever at any time during or after the
Employment Term. arising directly or indirectly from the Company's and its agents' , representatives', and licensees' exercise of
their rights In connection wIth any Permitted Uses.

15. Governing Law: Jurisdiction and Venue. This Agreement, for aU purposes, shall be construed ln accordance with the!aws
of California without rega.rd to conflicts of law prInciples. Any actlon or proceedIng by either of the parties to enforce this
Agreement shall be brought only in a state or federal court located in the state of California., County of San Bernardino. The
parties hereby Irrevocably submit to the exclusive Jurisdlotion of such courts and waive the defense of inconvenient forum to the
maintenance of any suCll actiOn Of proceeding In such venue,

 16. Entire Agreement Unle;:;s specifically. provided herein,. this Agreement contains allot the understandings and
 representations bel.\.veen the Executive and the Company pertaining to the subject matter hemof and supersedes all prior and
 contemporaneous understandings, agreements, representations, and warranties, both written and oral, with respect to such
 subject maitGf. The parties mutually agree lhat the Agreement can be speciffcally enforood in court and can be dted as evidence
 in legal proceedings alleging breach of the Agreement.

 17. Modification and Waiver. No proVision ofthls Agreement may be amended or modified unless such amendment or
 modification Is agreed to in writing ~nd signed by me Executive and the Chairman of1he Board of toe Company_ No waiver by
 either of the l')~rtl"H'; of ony brQrlc:h by tho oili,,:" ",,,,tty .......1.;0 <;>f _,~%y "'?n';liI.!o" or pr?':lalon Qf ttl!"! (,,>greemorrt: to bl!< """riorm,;,,,, by
 til .. ottlE>r party neletO sl1all be deemed a waiver of any Similar or dlSSlmnar proVISIon or condltlon at the same or any pflor or
 subsequent fune, nor shall the failure of Of OOlay by either of the parties In exerCIsing any tight, power, or privllege hereunder
 operate as a waiver 1hereof to preclude any other or further exarolsethereof or ilia exercise of any other such righi, power, or
 prlvilege.

 18, Severabilit)!. Should any provision or this Agl'ooment be held by a court of competent Jurisdiction to be enforceable only if
 modified, or if any portion of this Agreement shall be held as unemorreable and thus stricken. such holding shall not affect the
 validity of the remainder of this Agreement, the balance Of Which shall continua tn 00 binding upon the parties with any sucn
 modification to become a part hereofand treated as though originally set forth in this Agreement

  Tna partIes fUrther agree that any such court is expressly authorlzerlto modify any such unenforceable provision of this
  [\gree1'Qant   1n lieU of ss~erblQl!:I.f!ll~l:Lnanfqr0!l~ble t?£Ovieio':! f;orn thi~~9ree~ment in Us e~ty, Whether b:t. ~1!.g 'lheoffent!!ng
Case 8:24-bk-12674-TA                    Doc 141-1 Filed 10/25/24 Entered 10/25/24 13:22:23                               Desc
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provision, deleting any or all of the offending provision, adding additional language to this Agreement or by mal<log such other
modifications as it deems warranted to carry out the intent and agreement of the parties as embodied herein to the maximum
ext~nt pennltted by law,

The parties expressly agree that this Agreement as so modified by the court shall be binding upon and enforceable against each
of them. In any event, should one or more of the provlslons of this Agreement be held to be invalid. illegal, or unenforceable In
any respect, such Invalidity, lilegaUty, or unenforceability shall not affect any other provisions hereof, and It such provision or
provisions are not modified as provided above, this Agreement shall be construed as if such invalid, illegal. or unsmoTCsabls
provisions had not b\i!>Eln eel forth herein.

19. Caeuona, Captions and headings of the sections and paragraphs of this Agreement are intended solely for convenience
and "0 pn;;"v\..lcn of thll> Aereement Is to be construed by reference to the captIon or heading of any section or paragraph.


 ao, Counterparts. This Agreement may be executed in sepa.rate counterparts, each of which shall be deemed an onginal, but
 all of whIch taken together shaH constitute one ami the same instrument

 2'1. Notification tp Subsequent Emplover. When the Executive's employment with the Company terminates, the Executive
 agrees to notify any subsequent employer of the restriotive covenants sections contained in this Agreement, The Executive wll!
 also deliver a copy of such notice to the Company before the Executive commences employment with any subsequent employer.
 In additlon, the Executive authorizes me Company to prOVide a copy of the restrictive covenants sections of thiS Agreement to
 third parties. including b1.lt not limited ttl, the Executive's subsequent, anticipated. or possible future employer.

 22. SU¢C.!¥jSOfS and Assigns. This Agreement is personal to the Executive and shall not be assigned by the Executive. Arr:t
 purported assignment by the Executive shall be null and void from the lnitlal date of the purported assignment The Company
 may 8'Seign this Agreement to any successor or assign (whether direct or Indirect, by purchase, merger, conSOlidation, Of
 otherwIse) to all or substantially aU of the business Of assets of the Company. This Agreement shaH inure to thebeneflt of the
 Company and permitted successors and assigns.

 23. Notice. Notices and all other communications prOVided for in this Agreement shall be 1n writing and shall be delivered
 parsonallyor sent by registered or certified mall. return receipt requested, or by overnight carrier tolne parties at the addresses
 eet rorth below (or liIuch other3ildressesas specified by the parties by like notice):


  If to the Company:

  Chairman of the Board
  1845 BUsiheS$ Center Dr., Suite 215
  San Bernardino, CA 92408

  If to the Executive:

  1515 Lucas Lane
  Retllands, GA 92375

  24. Reof9seotations of ihe t=>Iecufute. The Executive represents and warrants to the Company that
            (a) The Exeootive's acceptance of employment with the Complimy and the performance of duties hereunder will not
            conflict with or result in a vlolatlon of, a breach of, or a default under any contract, agreement. or understanding to
            which the Executlve is a party or is otherwise bound.

            (b) The Executive's acceptance of employmt;lnt With the Company and the performance of duties hereunder will not
            violate any non·Qolicltatlol1t non-competltlon, or other similar covenant or agreement of a prior empioyet
   2<$, """",,9'51'''),1' -, n", company :snail nave tne right to WIthhold from any amount payable hereunder any Federal, state. and
   local taxes in oroerfor the Company to satisfy any withholding tax obligation It may have under any applicable Iav. or regulation.

   26. Joint Drafting. This Agreement is the product of negotiation and preparation by and among the parties and their respective
   :attorneys, Neither this Asreement nor any prOVision thereof Shall be aeemed prepared or drafted by OM rmrly or anoihet, or its
   al!:omeys, and ~flQII not be construed more strongly against any party. Addltlonally. the parties hereby waIve the provisions of
   California Civil Coele, ~ectlal1 1654, which proVides:

                         "In cases of uncertainty not removed by the proceeding rules, the language of a contract
                         shall be interpreted most strongly egainst1tle party who caused the uncertslnty toexllrt."
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                                                   \
hereto shall survive such expiration or other termination to the extent necessary to carry out the intentions or the parties under
this Agreement.

28. Attornev's fees. In the event of any action, suit or other proceeding concerning the interpretation. validity. performance or
breach of any of the terms and conditions of thIS Agreement, the prevailing party shall recover reasonable attorney's fees, costs
and expenses incurred in asCI'1 and every such action, suit or other proceeding, including any and aU appeals and/or petitions
relating thereto.

29, Acknowledgement of Full Understanding. THE EXECUTIVE ACKNOWLEDGES AND AGREES THAT THE EXECUTIVE
HAS FULLY READ, UNDERSTANDS fI.,ND VOLUNTAR1LY ENTERS INTO THIS AGREEMENT. THE EX;CUiIVE
AGKNOYVLEDGES AND AGREES THAT THE EXECUTIVE HAS HAD AN OPPORTUNITY TO ASK QUESTIONS AND
CONSULT WITH AN ATTORNEY OF THE EXECUTIVE'S CHOICE BEFORE SIGNING THIS AGREEMENT.


 IN WITNESS WHEREOF. ilia parties hereto have executed this Agreement as of the date first above wrltten.

                                                                   The Original Mowbray's Tree Service, Inc.

                                                                   6Y_ _--:--:-::---:-_ __
                                                                   Name: Robin Mowbray
                                                                   Title: Director
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                                 Exhibit A Page 39 of 73
                                                          Stephen
 earch
      elzoni



Monday




KoshaPino




StephenCho


         Cho
10/9120


Josh Jordan ICE                     No.... nothing ...... see you there




10/6/20
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                                  Exhibit c
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                                                                  Electronically Recorded in Official Records, County of San Bernardino     5/1012019
                                                                                                                                            01:49 PM

RECORDING REQUESTED BY:
                                                                                     BOB DUTTON                                             ALS

                                                                                     ASSESSOR· RECORDER - CLERK
Fidelity National Title Company
                                                                                     688 Fidelity National Title MA
Escrow No.: 0060122S-00S-SM5
Title No.: 992-30006979-A-KC6                                                                                         Titles 1            Pages 11
                                                                    DoC#      2019·0151325                             Fees                         44.00
WHEN RECORDED MAIL DOCUMENT AND
                                                                                                                       Taxes                       760.65
TAX STATEMENT TO:
Gloria Mowbray                                                                                                         CA S8:; Fee                    .00

1515 Lucas Lane                                                   1111111111111111111111                               Others
                                                                                                                       Paid
                                                                                                                                                      .00
                                                                                                                                                   804.65
Redlands, CA 92374



APN: 0168-071-62-0-000                                                                SPACE ABOVE THIS LINE FOR RECORDER'S USE

                                                                           The undersigned declares exemption under 1he following:
                                                                           Exempt trom Ice per GC 27388.1 (a) (2); recorded in connection
                                                                           with a transfer subject to the imposition of documentary transfer tax
                                                                                 \ C6Y\CU,.. ...~ het<w.-t;...'
                                                   GRANT DEED
THE UNDERSIGNED GRANTOR(s) DECLARE(~l...
 DOCUMENTARY TRANSFER TAX is $                      . I(PO,L.PS-                           CITY TAX $ 0.00
                                                                                                     ~~~------------------------
.l!Sl computed on full value of interest or property conveyed, or
o     computed on full value of items or encumbrances remaining at time of sale,
 o Unincorporated area                ~ City of _R..;;.e.;;.d;.c:.la.:....n.:;;..d:;;..s____________ ._ _ _ _ _ , and

FOR A VALUABLE CONSlDERATION, receipt of which is hereby acknowledged,


        Redlands Pioneer, LLC, a Delaware limited liability company


hereby GRANT(s) to
        Mowbray Waterman Property, LLC, A California limited liabilty
        di~~                                      company



the following real property in the County of San Bernardino, State of California:
Legal Description exhibit A, attached hereto and made a part hereof.
Addendum to Grant Deed attached hereto and made a part hereof.

Document Date: May 6, 2019

GRANTOR
Redlands Pioneer. LLC, a Delaware limited liability company




Grant Deed                                                                                           Last Saved: 5/6/201911:42 AM by BH
GRANTDEE (OSI Rev. 4/6/18)                               Page 1                                       Escrow No.: 00601225-005-SM5
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 A notary public or other officer completing this certificate
 verifies only the identity of the individual who signed the
 document to which this certificate is attached, and not the
 truthfulness, accuracy, or validity of that document.




 who proved to me on the basis of satisfactory evidence to be the person(~whose name(.!) is/ar~ subscribed to
 the within instrument and acknowledged to me that he/she/thiy executed the same in h;g?her/tt¢fr authorized
 capacity(i~), and that by hjS/her/tht;r signature~ on the instrument the person{S), or the entity upon behalf of
 which the person~ acted, executed the instrument.
 I certify under PENALTY OF PERJURY under the laws of the State of California that the foregoing paragraph is
 true and correct.


                                                                        ,············l
                                                                        :
                                                                                         KIM A. MAENZA
                                                                                     Notary Public - California  :
                                                                        ~             sa n Bernardino County !:
                                                                                      Commission, 2193146
                                                                                   My Comm. Expires Apr 22, 2021




Grant Deed                                                                             Last Saved: 5161201911:42 AM by BH
GRANTOEE (OSI Rev. 416118)                             Page 2                          Escrow No.: 00601225-005-SM5
  Case 8:24-bk-12674-TA      Doc 141-1 Filed 10/25/24 Entered 10/25/24 13:22:23             Desc
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                                         EXHIBIT A
                                    LEGAL DESCRIPTION

THE LAND REFERRED TO HEREIN BELOW IS SITUATED REDLANDS, IN THE COUNTY OF SAN BERNARDINO,
STATE OF CALIFORNIA, AND IS DESCRIBED AS FOLLOWS:

LOT 46 OF TRACT NO. 18979, IN THE CITY OF REDLANDS, AS SHOWN ON MAP FILED IN BOOK 347, PAGES 1
THROUGH 5, INCLUSIVE OF MAPS, IN THE OFFICE OF THE COUNTY RECORDER OF SAN BERNARDINO
COUNTY, CALIFORNIA.




Grant Deed                                                          Last Saved: 5/61201911 :42 AM by BH
GRANTDEE (OSI Rev. 4/6/18)                Page 3                     Escrow No.: 00601225-005-SM5
Case 8:24-bk-12674-TA       Doc 141-1 Filed 10/25/24 Entered 10/25/24 13:22:23                       Desc
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                                ADDENDUM TO GRANT DEED
                                       RE SB 800


            Fit and Finish Limited One Year Warranty. Grantee, by accepting title to the
     subject property, hereby acknowledges that Grantor has provided, and Buyer has
     received, Grantor's Fit and Finish One Year Limited Warranty. Grantee shall cause a
     copy of such Fit and Finish One Year Limited Warranty to be provided to any subsequent
     purchaser of the subject property who acquires the property on or before the first
     anniversary of the date of the recordation of this Grant Deed in the official records of the
     county in which the subject property is located.

             Maintenance and Preventive Maintenance Recommendations. Grantee, by
     accepting title to the subject property, hereby acknowledges that Grantor has provided,
     and Buyer has received, all maintenance and preventive maintenance recommendations
     that pertain to the subject property as of the date such information was compiled by
     Grantor. Notwithstanding the foregoing, Grantor and f'rrantee acknowledge that as of the
     date hereof, all such relevant information may not be available and, therefore, Grantor
     shall have the right, by written notice to Grantee, to supplement and/or amend such
     maintenance and preventive maintenance recommendations from time to time. Nothing
     in the maintenance and preventive maintenance recommendations provided by Grantor to
     Grantee is intended to constitute, or shall be interpreted to constitute, "enhanced
     protection agreement" as defined in Section 901 of the California Civil Code. Grantee
     agrees that Grantee shall faithfully follow all such maintenance and preventive
     maintenance recommendations and Grantee shall cause any tenant of Grantee to follow
     all such recommendations. Grantee agrees that Grantee shall provide all such
     maintenance and preventive maintenance recommendations to any subsequent purchaser
     of the subject property from Grantee.

             Products Maintenance, Preventive Maintenance and Limited Warranty
     Information. Grantee, by accepting title to the subject property, hereby acknowledges
     that Grantor has provided, and Buyer has received, all manufactured product
     maintenance, preventive maintenance and limited walTanty information that pertain to the
     subject property as of the date such information was compiled by Grantor.
     Notwithstanding the foregoing, Grantor and Grantee acknowledge that as of the date
     hereof, all such relevant information may not be available and, therefore, Grantor shall
     have the right, by written notice to Grantee, to supplement and/or amend such
     manufactured product maintenance, preventive maintenance and limited warranty
     information from time to time. Nothing in the products maintenance, preventive
     maintenance and limited warranty information provided by Grantor to Grantee is
     intended to constitute, or shall be interpreted to constitute, flenhanced protection
     agreement" as defined in Section 901 of the California Civil Code. Grantee agrees that
     Grantee shall faithfully follow all such maintenance recommendations contained in all
     such manufactured product maintenance, preventive maintenance and limited warranty
     information and Grantee shall cause any tenant of Grantee to follow all such
     recommendations. Grantee agrees that Grantee shall provide all such manufactured


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                                                                                          Initials
Case 8:24-bk-12674-TA        Doc 141-1 Filed 10/25/24 Entered 10/25/24 13:22:23                          Desc
                                  Exhibit A Page 45 of 73



      product maintenance, preventive maintenance and limited warranty information to any
      subsequent purchaser of the subject property from Grantee.

               SB 800 Procedures. Grantor hereby notifies C'rrantee of the existence of the pre-
      litigation procedures as set forth in Chapter 4 of Title 7 (commencing with Section 910)
      of Part 2 of Division 2 of the California Civil Code and further notifies Grantee that such
      procedures impact the lega1 rights of Grantee. Grantee acknowledges that Grantor has
      provided to Grantee a written copy of Title 7 of Part 2 (commencing with Section 895) of
      Division 2 of the California Civil Code. Grantee hereby acknowledges and agrees that
      Grantee shall provide such documents to any subsequent purchaser of the subject
      property from Grantee.

             Indemnity of Grantor by Grantee. Grantee hereby agrees to indemnify, defend
      and hold Grantor harmless for any loss, costs or damages arising from Grantee1s failure to
      carry out Grantee1s obligations under the terms of this Addendum to Grant Deed re
      SB 800.

               Covenants to Run With the Land. The subject property shall be held, conveyed,
      hypothecated, encumbered, leased, rented, used and occupied subject to the covenants,
      conditions, restrictions and other limitations set fOrtIl in this Addendum to Grant Deed re
      SB 800 (collectively, the "Restrictions II). The Restrictions are intended and shall be
      construed as covenants and conditions running with and binding the subject property and
      equitable servitudes upon the subject property, and every part thereof, and all and each of
      the Restrictions shal1 be binding upon and burden all persons having or acquiring any
      right, title or interest in the subject property (during their ownership of such interest), or
      any part thereof, and their successors and assigns. Restrictions shalllnure to the benefit
      of Grantor and its successors and assigns. The Restrictions shall terminate and be of no
      further force or effect upon the first to occm of (a) the expiration of all applicable statutes
      of limitations for the filing of a complaint or suit or other legal remedies against Grantor
      in any way relating to or arising out of the development, construction and sale of the
      subject property by Grantor, or (b) the date fifteen (15) years from the date of the
      recordation of this Grant Deed in the Official Records of the county in which the subject
      property is located.

             Rights of Mortgagees. Notwithstanding any other provision of this Addendum to
      Grant Deed, no violation of any of the covenants, conditions or restrictions contained
      herein shall defeat or render invalid, affect or impair the lien or charge of any mortgage
      or deed of trust on the subject property made in good faith and for value, but such
      covenants, conditions and restrictions shall be binding upon and effective against any
      owner of the subject property, or any portion thereof, whose title thereto is acquired by
      foreclosure, trustee sale or otherwise under such mortgage or deed of trust.

             Affiliated Contractor. In the event any "affiliated contractorll (defined in Civil
      Code Section 911) is utilized in the construction of any of the improvements to the
      Property, the provisions of this Addendum shall apply to such contractor and the delivery
      of all SB 800-related notices, documentation and materials described above shall be


                                              2
                                                                                              Initials
Case 8:24-bk-12674-TA       Doc 141-1 Filed 10/25/24 Entered 10/25/24 13:22:23                        Desc
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      deemed given or delivered on behalf of such contractor. The parties intend and agree that
      any entity that falls within the definition of "affiliated contractor" is an intended third
      party beneficiary of the provisions of this Addendum.

                                           SELLER:

                                           Redlands Pioneer, LLC
                                           a Delaware limited liability company

                                           By:     DIVERSIFIED PACIFIC
                                                   COM:MUNITIES. LLC.
                                                   a Delaware limited liability company,
                                                   Its: Managing Member




                                                                  ~




                                           BUY"ER(S): Mowl"1ray Waterman Property, LLC


                                             ~~
                                             Gloria Mowbray,
                                             Managing 'Member




                                             3
                                                                                           Initials
Case 8:24-bk-12674-TA                      Doc 141-1 Filed 10/25/24 Entered 10/25/24 13:22:23                                     Desc
                                                Exhibit A Page 47 of 73




   CALIFORNIA ALL-PURPOSE ACKNOWLEDGMENT                                                                        CIVIL CODE § 1189
   ~1{08i!l8tl!JOlgg,~JOg60l@eOijlOOI!9!81013Qe~"]li:~JDlt~~~~


       A nata,), publ;e oc oth" oHk" camplet;ng thIs ",,@eate ver;!;es   on~   the ;denHty of the ;nd;v;dual who signed the   do~men~
       to which this certificate is attached, and not the truthfulness, accuracy. or validity of that document.




   personally appeared _+"--=-"-"'''''---'--'-'-_-'----'~~...:...:.-.-:..--''''''----------------
                                                                    Nome(s) of Signer(s)


   who proved to me on the basis of satisfactory evidence to be the person(~whose name~ isJa~ subscribed
   to the within instrumef)t and acknowled£!ed to me that he/she/t;!'ey executed the same in hjS/her/tlJl::ir
   authorized capacity(i~). and that by hillher!ttieir signature(;ij on the instrument the person{'i!f. or the entity
   upon behalf of which the person~) acted. executed the instrument.


                      ············l
                           ~o!arv Public - California "-
                 )                    KiM A. MAENZA                   I certify under PENALTY OF PERJURY under the
                  ~                    1                   Z          laws of the State of California that the foregoing
                  ~                 San8ema tdiMCounty::              paragraph is true and correct.
                  "                 Commission; 2193146
                                My (amm. Explrt's Apr 22.2021




              Place Notary Seal andlor Stomp Above
                                                        OPTIONAL
                             Completing this information can deter alteration of the document or
                              fraudulent reattachment of this form to an unintended document.
       Description of Attached Document
       Title or Type of Document: _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __

        Document            ___________.______________ NumberofPages: _ _ _ __

       Signer(sj Other Than Named Above: _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __

     Capacity(ies) Claimed by Signer{s)
   [ Signer's Name: ______________                                      Signer's Name:
   I 0 Corporate Officer - Title(s}: ________                           o Corporate Officer - Title(s):
   I 0 Partner - 0 Limited 0 General                                    o Partner - 0 Limited 0 General
   I o Individual            0 Attorney in Fact                         o Individual            o Attorney in Fact                      I
     0 Trustee               0 Guardian of Conservator                  o Trustee               o Guardian of Conservator               I


   I o Other:
   L_~~,~~::r is Representing: - - - - - - - - - -
   ~~g~~Il~U'lillll:ll:l~I~
                                                                        o Other:
                                                                        Signer is Representing:
                                                                                                                               __J
   ©2017 National Notary Association
Case 8:24-bk-12674-TA        Doc 141-1 Filed 10/25/24 Entered 10/25/24 13:22:23                      Desc
                                  Exhibit A Page 48 of 73



                                ADDENDUM TO GRANT DJEJEJI)
                                       RE sn 800


            Fit and Finish Limited One Year Warranty. Grantee, by accepting 6tle to the
     subject property, hereby acknowledges that Grantor has provided, and Buyer has
     received, Grantor's Fit and Finish One Year Limited Warranty. Grantee shall cause a
     copy of such Fit and Finish One Year Limited Warranty to be provided to any subsequent
     purchaser of the subject property who acquires the property on or before the first
     anniversary of the date of the recordation of this Grant Deed in the official records of the
     county in which the subject property is located.

             Maintenance and Preventive Maintenance Recommendations. Grantee, by
     accepting title to the subject property, hereby acknowledges that Grantor has provided,
     and Buyer has received, all maintenance and preventive maintenance recommendations
     that pertain to the subject property as of the date such information was compiled by
     Grantor. Notwithstanding the foregoing, Grantor and Crrantee acknowledge that as of the
     date hereof, all such relevant information may not be available and, therefore, Grantor
     shall have the right, by written notice to Grantee, to supplement and/or amend such
     maintenance and preventive maintenance recommendations from time to time. Nothing
     in the maintenance and preventive maintenance recommendations provided by Grantor to
     Grantee is intended to constitute, or shall be interpreted to constitute, "enhanced
     protection agreement" as defined in Section 901 of the California Civil Code. Grantee
     agrees that Grantee shall faithfully follow all such maintenance and preventive
     maintenance recommendations and Grantee shall cause any tenant of Grantee to follow
     all such recommendations. Grantee agrees that Grantee shall provide all such
     maintenance and preventive maintenance recommendations to any subsequent purchaser
     of the subject property from Grantee.

             Products Maintenance, Preventive Maintenance and Limited WarrantY.
     Information. Grantee, by accepti.ng title to the subject property, hereby acknowledges
     that Grantor has provided, and Buyer has received, all manufactured product
     maintenance, preventive maintenance and limited warranty information that pertain to the
     subject property as of the date such information· was compiled by Grantor.
     Notwithstanding the foregoing, Grantor and Grantee aclmowledge that as of the date
     hereof, all such relevant information may not be available and, therefore, Grantor shall
     have the right, by written notice to Grantee, to supplement and/or amend such
     manufactured product maintenance, preventive maintenance and limited warranty
     information from time to time. Nothing in the products maintenance, preventive
     maintenance and limited warranty information provided by Grantor to Grantee is
     intended to constitute, or shall be interpreted to constitute, "enhanced protection
     agreement" as defined in Section 901 of the California Civil Code. Grantee agrees that
     Grantee shall faithfully follow all such maintenance recommendations contained in all
     such manufactured product maintenance, preventive maintenance and limited warranty
     information and Grantee shall cause any tenant of Grantee to follow all such
     recommendations. Grantee agrees that Grantee shall provide all such manufactured



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Case 8:24-bk-12674-TA        Doc 141-1 Filed 10/25/24 Entered 10/25/24 13:22:23                         Desc
                                  Exhibit A Page 49 of 73



      product maintenance, preventive maintenance and limited warranty infonnation to any
      subsequent purchaser of the subject property from Grantee.

               SB 800 Procedures. Grantor hereby notifies Grantee of the existence of the pre-
      litigation procedures as set forth in Chapter 4 of Title 7 (commencing wlth Section 910)
      of Part 2 of Division 2 of the California Civil Code and further notifies Grantee that such
      procedures impact the legal rights of Grantee. Grantee acknowledges that Grantor has
      provided to Grantee a written copy of Title 7 of Part 2 (commencing with Section 895) of
      Division 2 of the California Civil Code. Grantee hereby acknowledges and agrees that
      Grantee shall provide such documents to any subsequent purcha'ler of the subject
      property from Grantee.

             Indemnity of Grantor by Grantee. Grantee hereby agrees to indemnify, defend
      and hold Grantor harmless for any loss, costs or damages arislng from Grantee's failure to
      carry out Grantee's obligations under the tenDS of this Addendum to Grant Deed re
      SB 800.                                                            '

              Covenants to Run With the Land. The subject property shall be held, conveyed,
     hypothecated, encumbered, leased, rented, used and occupied subject to the covenants,
     conditions, restrictions and other limitations set forth in this Addendum to Grant Deed re
     SB 800 (collectively, the "Restrictions"). The Restrictions arc intended and shall be
     construed as covenants and conditions running with and binding the subject property and
     equitable servitudes upon the subject property, and every part thereof, and all and each of
     the Restrictions shall be binding upon and burden all persons having or acquiring any
     right, title or interest in the subject property (during their ownership of such interest), or
     any part thereof, and their successors and assigns. Restrictions shall inure to the benefit
     of Grantor and its successors and assigns. The Restrictions shall terminate and be of no
     further force or effect upon the first to occur of (a) the expiration of all applicable statutes
     of limitations for the filing of a complaint or suit or other legal remedies against Grantor
     in any way relating to or arising out of the development, construction and sale of the
     subject property by Grantor, or (b) the date fifteen (15) years from the date of the
     recordation of this Grant Deed in the Official Records of the county in which the subject
     property is located.

             Rights of Mortgagees. Notwithstanding any other provision of this Addendum to
     Grant Deed, no violation of any of the covenants, conditions or restrictions contained
     herein shall defeat or render invalid, affect or impair the lien or charge of any mortgage
     or deed of trust on the subject property made in good faith and for value, but such
     covenants, conditions and restrictions shall be binding upon and effective against any
     owner of the subject property, or any portion thereof, whose title thereto is acquired by
     foreclosure, trustee sale or otherwise under such mortgage or deed of trust.

            Affiliated Contractor. In the event any lIaffiliated contractor" (defined in Civil
     Code Section 911) is utilized in the construction of any of the improvements to the
     Property, the provisions of this Addendum shall apply to such contractor and the delivery
     of all SB 800-related notices, documentation and materials described above shall be


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                                                                                             Initials
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                                 Exhibit A Page 50 of 73



      deemed given or delivered on behalf of such contractor. The parties intend and agree that
      any entity that falls within the definition of "affiliated contractor" is an intended third
      party beneficiary of the provisions of this Addendum.

                                           SELLER:

                                           Redlands Pioneer, LLC
                                           a Delaware limited liability company

                                           By:     DIVERSIFIED PACIFIC
                                                   C01vfMUNITIES, LLC.
                                                   a Delaware limited liability company,
                                                   Its: Managing Member




                                                     Kristinn         Sellers
                                                    orized Repre entative
                                                                  -
                                           BDYER(S): Mowflray Wa terman Property T LLC

                                            ~~ -±-~~.-,q
                                           .M~!~~!:g!~:~~:~' _. ________1:28-/ q




                                             3
      Case 8:24-bk-12674-TA                                 Doc 141-1 Filed 10/25/24 Entered 10/25/24 13:22:23                                                                        Desc
                                                                 Exhibit A Page 51 of 73
                                      CALIFORNIA CERTIFICATE OF ACKNOWLEDGMENT

      A notary public or other officer completing this certificate verifies only the identity of
      the individual who signed the document to which this certificate is attached, and not
      the truthfulness, accuracy, or validity of that document.

     State of California                                                           )

     County of           5A-N :!.5evJA('Z]/III~
             On       /J1j} ( Or!                2-01 ?                  before me,           tqE:JJi26E J2-urz., ;jo-rA7l-r /v6 L1 c..,
                                                                                                                      (he,e insert name and title of the officer)


     personally appeared                 ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~-~.--~-~.-~--~.-~.-~---~-~-~~~~~~~~-.~-.~.~~

     who proved to me on the basis of satisfactory evidence to be the person~ whose name(~is/~ subscribed to
     the within instrument and acknowledged to me that be1she/t~ executed the same in hm'her/tReir
     authorized capacity{ieS), and that by bB/her/tj).e1f signature(8f on the instrument the person(sr," or the entity
     upon behalf of which the person,CBracted, executed the instrument.

     I certify under PENALTY OF PERJURY under the laws of the                                                                                             GEORGE RUIZ
     State of California that the foregoing paragraph is true and correct.                                                                           COMM. #2167357                   :z:
                                                                                                                                                   Notary Public· California ~
                                                                                                                                                    San Bernardino County ....
                                                                                                                                                    Comm. Expires No¥. 6. 2020
             WITNESS my hand and official seal.



      Signat~7 7
               .J£
                 '-
                   .                                                                                                                                         (Seal)



                                                                          Optional Information
Although the information in this section is not required by law, it could prevent fraudulent relT'oval and reattachment of this acknowledgment to an
unauthorized document and may prove useful to persom relying on the anached document.


Description of Attached Document                                                                                                                      'fbU.lffi'",'!,!.iii.],
The preceding Certificate of Acknowledgment is attached to a document                                                             Mt?t~?~.?f Signer Id~f)tific.?tion.

titled/for the purpose of             ljl])elf!?U(!i . . ~ 6t!ft1V~                                                                Proved to me on the basis of sati,factory evidence:
                                                                                                                                       C (arm(s) of identif,,:ation 0 credible w'lness(es)
I4r12_k__ 2_ ~. . __«~_Q                                                                                                            Notarial event is detailed in notary journal on·

containing _~)                 pages, and dated                                                                                                Page #                 Entry #


The signer(s) capacity or authority is/are as:                                                                                      Notary contact:

  [J Individual(s)
  [ ] Attorneyin+act
                                                                                                                                        Additional Signer(s)           Signer(s) Thumbprint(s)
       Corporate Offlcer(s) __...... _ _ __




       Guardian/Conservator
       Partner - Limited/General
  ::---; Trustee(s)
       Other: _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __




                      - - - - - - - - - - _ ............._---- •..................--------

4:1 (oPYHght 20Q7·2Ul6 Nota'y Kotary, Inc PO Box 41400, Des Moines, ~A )C0311··CbOJ. All Rights Re~erved, Item N... mber 101772, Piease contact yOU! Authorized ReseUer to purchase (.op~e5 af thi> form.
Case 8:24-bk-12674-TA    Doc 141-1 Filed 10/25/24 Entered 10/25/24 13:22:23         Desc
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                                PROOF OF SERVICE

  STATE OF CALIFORNIA             )
  COUNTY OF ORANGE                )     ss:

        The undersigned certifies and declares as follows:

         I am over the age of 18 and not a party to this action. My business address
  is 2331 West Lincoln Avenue, Anaheim, California 92801, which is in the county
  where the mailing described below took place.

        On July 26, 2022 I served the within First Amended Complaint by:

  []    (Facsimile Transmission) I caused the above mentioned document to be
        served by facsimile transmission to the parties at the fax numbers listed on
        the attached service list.

  []    (Mail) I placed a true and correct copy thereof in a sealed envelope
        addressed as set forth on the attached service list and caused such
        envelope, with first class postage thereon fully prepaid, to be placed in the
        U.S. Mail at Anaheim, California, and certify that such envelope was
        placed for collection and mailing following ordinary business practices.

 []     (Overnight Delivery) I placed a true and correct copy thereof in a sealed
        envelope addressed as set forth on the attached service list and caused such
        envelope to be delivered the next day by overnight courier to the
        addressee(s) listed on the attached service list.

 []     (Personal Service) I placed a true and correct copy thereof in a sealed
        envelope addressed as set forth on the attached service list and caused such
        envelope to be delivered by hand as set forth on the attached service list.

  [X]   (E-mail) I caused the above mentioned document to be served via PDF e-
        mail attachment to the parties at the e-mail addresses listed on the attached
        service list.

  [X]   (State) I declare under penalty of perjury under the laws of the State of
        California that the above is true and correct.

        Executed July 26, 2022 at Anah~
           ,                           ~




                                        ~\lll1:B-eckY-PhiiTiP~---------
Case 8:24-bk-12674-TA   Doc 141-1 Filed 10/25/24 Entered 10/25/24 13:22:23   Desc
                             Exhibit A Page 53 of 73


                                  SERVICE LIST

 Attorney for Defendants:
 Michael 1. Kim, Esq.
 CKB VIENNA, LLP
 9531 Pittsburgh Avenue
 Rancho Cucamonga, CA 91730
 Facsimile: (909) 614-7400
 mkim@ckbvienna.com
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                                  Exhibit A Page 54 of 73



        Kenneth J. Catanzarite (SBN 113750)
      1 kcatanzarite@catanzarite.com                                         FILi!D
                                                                     .uPERIOR COURT OF CAUFONM
      2 Brandon E. Woodward (SBN 284621)                               COUNTY OF SAN BERNARDINO
        bwoodward@catanzarite.com                                       ~"N m=~ARDlMO OISTf'OCT
        CATANZARITE LAW CORPORATION
      3 2331 West Lincoln Avenue                                           OCT 177074
        Anaheim, California 92801
      4 Telephone: (714) 520-5544
      5 Facsimile: (714) 520-0680
                                                                   BV     ANTH~RT~EPUTY
      6   Attorneys for Plaintiff

      7

      8                       SUPERlOR COURT OF THE STATE OF CALIFORNIA

      9                                 COUNTY OF SAN BERNARDINO

     10
          RONNIE D. JORDAN, an individual,                      Case No. CIVSB2201281
     11
                         Plaintiff,                             Assigned for All Purposes to the
     12                                                         Honorable Wilfred J. Schneider, Jr.
                  vs.                                           Dept. S32
     13
          THE ORlGINAL MOWBRAY'S TREE                           JOINT STATEMENT OF CASE
     14   SERVICE, INCORPORATED, a California
          corporation; MOWBRAY WATERMAN
     15   PROPERTY, LLC, a California limited liability         DATE:       October 17,2024
          company, RlCHARD JOHN MOWBRAY, an                     TIME:       10:00 A.M.
     16   individual; ROBIN MOWBRAY, an individual;             DEPT:       S32
          and Does 1 through 50 inclusive,
     17                                                         Complaint: January 18,2022
                         Defendants.                            Trial:     October 21,2024
     18

     19
     20

     21

     22

     23

     24

     25           Plaintiff Ronnie D. Jordan ("Plaintiff') Along With Defendant The Original Mowbray'S

     26   Tree Service, Inc., Mowbray Waterman Property, LLC, Richard John Mowbray, Robin

     27   Mowbray (collectively "Defendants") submit the following Joint Statement of Case for trial in
     28   this matter:
                                                           1
                                                Joint Statement of Case
Case 8:24-bk-12674-TA         Doc 141-1 Filed 10/25/24 Entered 10/25/24 13:22:23                    Desc
                                   Exhibit A Page 55 of 73




     1            The plaintiff Ronnie Jordan entered into an oral contract in 2018 with defendant The

     2   Original Mowbray's Tree Service, Inc. to relocate from Florida to San Bernardino, California to

     3   be employed as its Chief Executive Officer or CEO in the tree service and vegetation

     4   management industry in consideration for an annual salary of $250,000, annual bonuses of 10%

     5   of net profits, and later title to real property located in San Bernardino. Later in 2020 a written

     6   contract was signed calling for a base salary and a bonus structure. Ronnie Jordan disputes that

     7   the 2020 written contract is enforceable. Defendants The Original Mowbray'S Tree Service, Inc.,

     8   Mowbray Watennan Property, LLC, Richard John Mowbray, and Robin Mowbray dispute the

     9   10% of net profits component of Ronnie Jordan's oral contact.

    10            Ronnie Jordan as plaintiff in this case alleges defendants The Original Mowbray'S Tree

    11   Service, Inc., Mowbray Watennan Property, LLC, Richard John Mowbray, and Robin Mowbray

    12   breached both the oral and if enforceable written employment contract, committed promissory

    13   fraud, breached their covenant of good faith and fair dealing, and induced Mr. Jordan to relocate

    14   from Florida to California by means of misrepresentations causing Mr. Jordan injury.

    15            The Defendants deny they committed any wrongful acts against Plaintiff and as to the

    16   2020 written agreement contend Ronnie Jordan was tenninated for cause. Ronnie Jordan

    17   disputes the 2020 written agreement is enforceable, that he was terminated for cause and if

    18   enforceable was breached.

    19            The Judge will instruct you the Jury on what the law requires Plaintiff to prove to hold

    20   each Defendant responsible for Plaintiffs alleged claims.

    21            We thank you for performing the important civic duty of serving as jurors.
    22

   23
         Dated: __   I_(,I
                        _/~_r-_ _, 2024.                       yr4!""~.,",""",, LA W CORPORATION
                                                By:
                                                                              e
   24

   25

   26
         Dated:      [0   /!S-' ,2024.
                                                By:
   27
                                                        Steven Cho, Esq.
   28                                                   Attorneys for Defendants
                                                            2
                                                 Joint Statement of Case
Case 8:24-bk-12674-TA         Doc 141-1 Filed 10/25/24 Entered 10/25/24 13:22:23                          Desc
                                   Exhibit A Page 56 of 73



     ' 1   Kenneth J. Catanzarite (SBN 113750)
           kcatanzarite@catanzarite.com                                            PILI!D
                                                                         I'JPERIOR COURT Of CAlIFONC1A
      2    Brandon E. Woodward (SBN 284621)                                 COUNTY OF SAN BERNARDINO
           bwoodward@catanzarite.com                                           ~"'N m:~ROi'NO OIST~T
     13    CATANZARITE LAW CORPORATION
           2331 West Lincoln Avenue                                               OCT 1 7 707.4
           Anaheim, California 92801
      4    Telephone: (714) 520-5544
           Facsimile: (714) 520-0680                                   P3V         tJAJliiii. ~
     ,5                                                                        ANTHONY~I1TiNEi~S'UTY
      6    Attorneys for Plaintiff

      7
                               SUPERIOR COURT OF THE STATE OF CALIFORNIA
      8

      9                                    COUNTY OF SAN BERNARDINO

     10    RONNIE D. JORDAN, an individual,
                                                                    Case No. CIVSB2201281
     11                   Plaintiff,
                                                                    Assigned for All Purposes to the
                  vs.                                               Honorable Wilfred J. Schneider, Jr.
     12
                                                                    Dept. S32
     13    THE ORIGINAL MOWBRAY'S TREE
           SERVICE, INCORPORATED, a California                      JOINT TRIAL EXHIBIT LIST
     14    corporation; MOWBRAY WATERMAN
           PROPERTY, LLC, a California limited liability
     15    company, RICHARD JOHN MOWBRAY, an                        DATE:          October 17,2024
           individual; ROBIN MOWBRAY, an individual;                TIME:          10:00 A.M.
     16    and Does 1 through 50 inclusive,                         DEPT:          S32

     17    Defendants.                                              Complaint: January 18,2022
                                                                    Trial:     October 21,2024
     18

     19

     20

     21

     22
           II--------------------------------~
     23

     24            Plaintiff RONNIE D. JORDAN ("Plaintiff") along with defendants THE ORIGINAL

     25    MOWBRAY'S TREE SERVICE, INC, MOWBRAY WATERMAN PROPERTY, LLC,

     26    RICHARD JOHN MOWBRAY, ROBIN MOWBRAY (collectively "Defendants") submit the

     27    following Joint Trail Exhibit list, subject to redactions and/or revisions and/or Evidence Code

     28    §402 hearing for trial in this matter:
                                                               1
                                                    Joint Trial Exhibit List
Case 8:24-bk-12674-TA           Doc 141-1 Filed 10/25/24 Entered 10/25/24 13:22:23      Desc
                                     Exhibit A Page 57 of 73



     1                                          JOINT EXHIBIT LIST

     2 Trial            Description       Offered Stipulate Stipulate Evidentiary Date    Date
             Ex.                            by       to         to     Objection Marked Admitted
     3                                     (n/A) Authen.? Admiss.?                forID
                                                  (Yes/No) (Yes/No)
     4
                                                 Plaintiff's Exhibits
     5
         1          Ronnie Jordan         1t
     6              Narrative
                    Ronnie Jordan's
         2          Resume                1t
     7
                    Mowbray Financial
         3          Statements 2017 to    1t
     8
                   May 2018
     9             Meeting Memo May
         4         28,2018                n
    10 5           June 2018 Ronnie
                    CEO Announcement n
    11             by Rick Mowbray
                   2020 Jordan Resume
    12   6         as Mowbray's CEO       n
                   July 17, 2018 Ronnie
    13   7         CEO Shotca1ler         1t
                   Facebook
    14             Announcement
                   September 13,2018
    15   8         Texts $750 Week Per n
                   Diem, Never Doubt
    16             Not Good Move
                   December 2018 Rick,
    17   9         Robin, Denise Ronnie n
                   Preaching Give 10%
    18             Various Meeting
         10        Minutes                1tA
    19             2018 Monthly Sales
         11                               n
   20              March 15,2019 Cho
         12        Letter to Auditor 2018 1t
   21              Year
                   Leadership Team
   22    13        Ronnie CEO Feb         1t
                   2019 -leadership
   23              team
                   March 2019 Text
   24    14        Exchange Ronnie $19 n
                   Million Future Had
   25              Been In Doubt Ex. 14-
                   Ex. 17 - 190305 DM-
   26              RJ Rick never had
                   someone like you last
   27              year thought future
                   doubt
   28
                                                            2
                                                 Joint Trial Exhibit List
Case 8:24-bk-12674-TA       Doc 141-1 Filed 10/25/24 Entered 10/25/24 13:22:23      Desc
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    1                                       JOINT EXHIBIT LIST

    2 TIial         Description       Offered Stipulate Stipulate Evidentiary Date    Date
         Ex.                             by       to        to     Objection Marked Admitted
    3                                  (rclA) Authen.? Admiss.?               forID
                                              (YeslNo) (YeslNo)
    4
               May 10, 2019 Grant
        15     Deed (1515 Lucas Ln) 'It
    5
               Typed Version
        16     Meeting Memo to        rc
    6
               Mowbrays
    7          November 26,2019
        17     VegManMSA-             'It

    8          Wildfire
               December 2019
        18     Facetime Call         'It
    9
               Mobrays with Ronnie
   10          December 25,2019
        19                           'It
               Group Text Rick to
   11          Jordan Reason Here
               no 2nd RoM Love u
   12          gllYS
               Januruy 23, 2020
        20     Ricky to All Rick     'It
   13
               Terminated
   14          March 5, 2020
        21     $500,000 SCE Invoice 'itA
   15          March 18, 2020 Robin
        22
               to Jordan Restraining 'It
   16          Orders has proof
               April 24, 2020 Robin
   17   23     to Jordan Mowbray     'It

               June 3, 2020 Phang to
   18   24     Jordan GCL Invoices 'It
               Flexible Inquiry
   19          September 16, 2020
        25     Jordan Signed         rcA
   20          Employment
               Agreement
   21          2020 Thanksgiving
        26     Texts Ricky Removes rc
   22          Jordan
               2015-2020 HUB Mid-
   23   27     Term Ins &            rcA
               Management Planning
   24          December 15,2020
        28     Mark Shipp Email on rc
   25          Insurance and
               Wildfire
   26          August-September
        29     2020 Randy GCL        rc
   27
               Terminated - PIs and
               Buckets
   28
                                                        3
                                             Joint Trial Exhibit List
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    1                                      JOINT EXHIBIT LIST

    2 Trial         Description     Offered Stipulate Stipulate Evidentiary Date    Date
         Ex.                          by        to       to      Objection Marked Admitted
    3                                (nIA) Authen.? Admiss.?                forID
                                            (YeslNo) (YeslNo)
    4
               December 28, 2020
        30     Flexible Demand        nA
    5
               Letter to Kim GCL
    6          $4,152917
               So Cal Edison
        31     Undated SCE RFP        n
    7
               80m Ins req consider
    8          25m
               Est. December 2021
    9
        32     Settlement Agreement nA
               Draft $3,500,000 With
   10          Jordan
               Representations
   11          June 29, 2021 SCE
        33     Withdrawal of Default nA
   12          January 7, 2022
        34     Termination Letter     nA
   13          Ricky to Jordan
               February 10,2022
        35     Jordan Notice Term     n
   14
               Emp & Occupancy
   15          January 13, 2022
        36     Robin Dec1 against     n
   16          Rick20k
               June 1, 2022 Notice of
   17   37     Unlawful Detainer      n
               June 1, 2022 Unlawful
   18   38     Detainer Complaint     n
               Package mailed to
   19          Jordan
               December 2018 &
   20   39     2017 Financial         n
               Statement
   21          2018-2019 Financials
        40     and YTD2020            n
   22          2020 Income
        41     Statement & Balance n
   23          Sheet
               2021 Income
   24   42     Statement & Balance n
               Sheet
   25          Balance Sheet - 2022-
        43     2023 YTD               n
   26          P&L 2022 - 2023
        44     YTD                    n
   27
               Creal Report
        45                          nA
   28
                                                       4
                                            Joint Trial Exhibit List
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    1                                        JOINT EXHIDIT LIST

    2 Trial         Description     Offered Stipulate Stipulate Evidentiary Date    Date
         Ex.                          by        to        to     Objection Marked Admitted
    3                                (n/A) Authen.? Admiss.?                forID
                                            (Yes/No) (Yes/No)
    4
               Expert Ken Creal
        46     Damages              n
    5
               Kahn Report
        47                          nA
    6
               March 1, 2022
        48     Richard E. Mowbray n
    7
               Sworn Statement
    8          June 1,2023 Ronnie
        49     Jordan Depo           n
    9          Transcript
        50     October 2,2024        n
   10          Richard Rick E.
               Mowbray Depo
   11          Transcript
               May 30, 2023 Robin
   12   51     Mowbray Depo          n
               Transcript
   13          June 15,2023 Robin
        52     Mowbray Depo
   14          Transcript
               June 14,2023
   15   53     Richard J. Mowbray n
               Depo Transcript
   16
               September 29, 2023
        54     Alan Phang Depo       n
   17
               Transcript
   18          October 3, 2023 Mark
        55     Shipp Depo Transcript n
   19          June 23, 2023 Mike
        56     Bartelli Depo         n
   20          Transcript
               September 15,2023
        57     Josh Caudill Depo     n
   21
               Transcript
   22 58       June 22, 2023
               Greggory Pegg Depo n
   23          Transcript
        59        Mowbray'S Tax
   24                  Returns

   25   59-
                  RESERVED
        100
   26
        101 Unsigned employment          A
            agreement between
   27
            Mowbray and Jordan
   28       Mowbray'S Employee
        102 Handbook                     A
                                                          J

                                              Joint Trial Exhibit List
Case 8:24-bk-12674-TA      Doc 141-1 Filed 10/25/24 Entered 10/25/24 13:22:23        Desc
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    1                                        JOINT EXHIBIT LIST

    2 Trial        Description         Offered Stipulate Stipulate Evidentiary Date    Date
        Ex.                               by       to        to     Objection Marked Admitted
    3                                   ('It/A) Authen.? Admiss.?              forID
                                                (YeslNo) (YeslNo)
    4
            Fully executed written
        103 Employment                   A
    5
            agreement between
    6       Mowbray's and
            Jordan
    7   104 . Lucas Lane Insurance       A
    8   105 Jordan Auto insurance        A
    9       Email exchange with
        106 Southern California          A
   10       Edison regarding
            Master Services
   11       Agreement and
            Insurance
   12       Mowbray's Insurance
        107 Policies                     A
   13   108 RESERVED                     A
   14   109 Emails with Flexible         A
            Complaint filed by
   15   110 Mowbray's against            A
            Flexible Funding, et
   16       al. on 2/1/21 in Case
            No. CGC-21-598522
   17       Notice of stay in
        111 proceedings in Case          A
   18       No. CGC-21-598522
            -RJN
   19
            Flexible Funding-
        112 Notice of Bankruptcy         A
   20
            and of Automatic Stay
   21       in Case No. CGC-21-
            598522
   22       Cross-Complaint filed
        113 by Graham County             A
   23       Land Company
            against Mowbray's on
   24       211/21 in Case No.
            CGC-21-598522
   25       First Amended
        114 Complaint filed by           A
   26       Mowbray's against
            ABC Landscaping &
   27       Excavation, Inc., et al.
            in Case No.
   28       CIVDS2020971
                                                         6
                                              Joint Trial Exhibit List
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     1                                        JOINT EXHIBIT LIST

     2 Trial       Description        Offered' Stipulate Stipulate Evidentiary Date    Date
         Ex.                              by       to        to     Objection Marked Admitted
     3                                 ('It/A) Authen.? Admiss.?               forID
                                               (YeslNo) (YeslNo)
     4
             Complaint filed by
         115 Mowbray's against          A
     5
             Slickrock
     6       Development, LLC on
             April 7, 2022, in Case
     7       No. CIVSB2207062
             Mowbray's judgment
         116 against Slickrock          A
     8
         117 Apex Lease                 A
     9
             Email exchange with
         118 Plaintiff, Mowbray's,      A
    10
             and Leo Rodriguez
    11       regarding workers
             compensation
    12       insurance and wildfire
             coverage from March
    13       31,2020 to April 1,
             2020
   14    119 RESERVED                   A
   15    120 RESERVED                   A
   16    121 RESERVED                   A
   17    121 RESERVED                   A
   18    123 RESERVED                   A
             RESERVED
         124                           'itA
   19
             Barbara Luna CV
         125                            A
   20
             Barbara Luna Report
         126                            A
   21        Kenneth Creal CV
         127                           'itA
   22        Kermeth Creal Report
         128                           'itA
   23        Lawrence Kahn CV
         129 Lawrence Kahn             'itA
   24        Report
   25

   26

   27

   28
                                                          7
                                               Joint Trial Exhibit List
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     1                                           JOINT EXHIBIT LIST

     2   Trial        Description            Offered Stipulate Stipulate Evidentiary Date    Date
          Ex.                                   by       to        to     Objection Marked Admitted
     3                                        ('It/A) Authen.? Admiss.?              for ID
                                                      (YeslNo) (YeslNo)
     4

     5

     6

     7

     8
     9 Dated: J  1J}  /&
              <---+---'-"-'--_ _ ' 2024.
                                                          C~RPORATION
    10
    11

    12
                 /                                By:
                                                         $ennet~~o""at
                                                        PBrandon E.
                                                                        a'
                                                                        ward
                                                         Attorneys amtiff
    13
                   101ft,
         Dated: _---'-----'---'---_,
                                   ' 2024.                CKB VIENNA, LLP
    14
    15
    16
                                                  By:        &1
                                                          M:Stephen Cho
                                                          Michael 1. Kim
    17                                                    Attorneys for Defendants
    18
    19
    20
    21
    22
    23
    24
    25
    26
    27
    28
                                                               8
                                                   Joint Trial Exhibit List
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                                    Exhibit A Page 64 of 73




       1   Kenneth J. Catanzarite (SBN 113750)                                 FILI!D
           kcatanzarite@catanzarite.com                              IOPERIOR COURT Of CAlIFOfIIWW.
      2    Brandon E. Woodward (SBN 284621)                            COUNTY OF SAN BERNARDINO
                                                                           ~~ ~~ROINO oo;T~T
           bwoodward@catanzarite.com
      3    CATANZARITE LA W CORPORATION
           2331 West Lincoln Avenue                                           OCT 172024
      4    Anaheim, California 92801
           Telephone: (714) 520~5544
      5    Facsimile: (714) 520-0680

      6    Attorneys for Plaintiff

      7

      8                        SUPERIOR COURT OF THE STATE OF CALIFORNIA

      9                                    COUNTY OF SAN BERNARDINO

     10
           RONNIE D. JORDAN, an individual,                        Case No. CIVSB2201281
     '11
                          Plaintiff,                               Assigned for All Purposes to the
     12                                                            Honorable Wilfred J. Schneider, Jr.
                   vs.                                             Dept. S32
     13
           THE ORlGINAL MOWBRAY'S TREE                             JOINT WITNESS LIST
     14    SERVICE, INCORPORATED, a California
           corporation; MOWBRAY WATERMAN
     15    PRO PERTY, LLC, a California limited liability          DATE:        October 17, 2024
           company, RICHARD JOHN MOWBRAY, an                       TIME:        10:00 A.M.
     16    individual; ROBIN MOWBRAY, an individual;               DEPT:        S32
           and Does 1 through 50 inclusive,
     17                                                            Complaint: January 18,2022
                          Defendants.                              Trial:     October 21,2024
     18

     19

     20

     21

     22 II------------------------------~
     23
     24            Plaintiff RONNIE D. JORDAN ("Plaintiff') along with Defendant THE ORIGINAL

     25    MOWBRAY'S TREE SERVICE, INC, MOWBRAY WATERMAN PROPERTY, LLC,

     26    RlCHARD JOHN MOWBRAY, ROBIN MOWBRAY (collectively "Defendants") submit the

     27    following Joint Witness List for trial in this matter for the Court's use:

     28    II
                                                               1
                                                      Joint Witness List
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     1                                     Joint Witness List
              Name        Party     Actually    Brief Description of    Length    Length Total
     2       (State if    Calling   Expected         Testimony              of        of Length
             Expert)       (n/A)       To                                Direct    Cross   (in
     3
                                    Testify?                               (in       (in hours)
     4                              (YeslNo)                             hours)   hours)
         Ronnie D.           n      Yes        The basis of his case    4.0       2.0
     5                                                                                   6.0
         Jordan                                and claims.
         Phy His Jordan     1t      Yes        Foundation for MOU.      0.5       0.5
     6                                                                                   1.0
         Josh Caudil        n       yes        Safety conditions at     1.0       0.5
     7                                                                                   1.5
                                               company and contract
     8                                         arrangements
         Mark Shipp         1t      yes        Insurance coverage at    1.5       0.5
                                                                                         2.0
     9                                         company including
                                               wildfIre coverage
    10   Dwight             n       yes        Who was in charge of 0.5           0.5
                                               company                                   1.0
         Anderson
    11
         Mike Bartelli      n       Yes        Recruitment of           0.5       0.5
                                                                                         1.0
    12                                         Plaintiff and activities
                                               at company
    13   John A. Boyd       n       yes        Settlement offers        0.5       0.5
                                                                                         1.0
                                               imposing testimony
    14                                         conditions
    15   Richard            n       yes        Contract with Plaintiff 1.5        0.5
                                                                                         2.0
         ("Rick")                              and performance as
    16   Mowbray                               CEO
         AlanPhang          1t      yes        As CFO fInancial         2.0       0.5
    17                                                                                   2.5
                                               condition and
    18                                         performance of
                                               company from 2016
    19                                         and earlier to present
         Gregory Pegg       n       yes        Safety practices for     0.5       0.5
   20                                          company                                   1.0
         Richard            n                  Denial of Plaintiff's    2.0       2.0
    21                                                                                   4.0
         ("Ricky") John                        claims and basis for
   22    Mowbray                               affIrmative defenses.
         Robin              n                  Denial of Plaintiff's    2.0       2.0
   23                                                                                    4.0
         Mowbray                               claims and basis for
                                               affIrmative defenses.
   24    PMKatThe           n                  Denial of Plaintiff's    1.0       1.0
                                                                                         2.0
         Original                              claims and basis for
   25
         Mowbray's                             affIrmative defenses.
   26    Tree Service,
         Inc.
   27    PMKat              n                  Denial of Plaintiff's   1.0        1.0
                                                                                         2.0
         Mowbray                               claims and basis for
   28    Waterman                              affIrmative defenses.
                                                    2
                                            Joint Witness List
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    1   Property, LLC
        Lawrence J.        1C               Opinions regarding the 2.0    2.0
    2                                                                            4.0
        Khan                                business operations
                                            and conduct of the
    3
                                            Original Mowbray's
    4                                       Tree Service,
                                            Incorporated ("MTS")
    5                                       pre and post
                                            engagement of
    6                                       Plaintiff in 2018 and
                                            his termination in
    7
                                            January 2022, the tree
    8                                       service industly nature
                                            and operation on a
    9                                       scale achieved by
                                            MTS under Plaintiff s
   10                                       service as President
                                            and Chief Executive
   11
                                            Officer, the nature and
   12                                       role of companies like
                                            MTS in the vegetation
   13                                       management industry
                                            and will offer rebuttal
   14                                       testimony to any
                                            retained and non-
   15
                                            retained experts of
   16                                       MTS.
        Kenneth Creal,     1C               Opinions regarding      2.0   2.0
   17                                                                            4.0
        C.P.A.                              Plaintiff s damages
        (Expert                             due from the Original
   18   Witness)                            Mowbray'S Tree
   19                                       Service, Incorporated,
                                            Mowbray Waterman
   20                                       Property, LLC,
                                            Richard John
   21                                       Mowbray, and Robin
                                            Mowbray based upon
   22                                       the witness testimony,
   23                                       documents and
                                            financial statements
   24                                       reviewed in his
                                            preparation.
   25   Dr. Barbara        A                Opinions regarding      2.0   2.0
                                                                                 4.0
        Luna (Expert                        Plaintiffs damages.
   26
        Witness)
   27   Leo Rodriguez      A                Insurance coverage      0.5   0.5
                                                                                 1.0
                                            including wildfire
   28
                                                 3
                                         Joint Witness List
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     1    Ana Sainz          Ii

     2    John Boyd          Ii                 Former counsel for      0.5    0.50
                                                Jordan                                 1.0
     3    TOTAL                                                         23.5   17
                                                                                       44.5
     4

     5

     6   Dated:   I- p/tS' ,2024.
                      i
                                                 CATANZARlTE LAW CORPORATION



                                                ~
     7
                                       By:
     8
                                                 Brandon E. Woodward
     9                                           Attorneys Plaintiff
    10

    11            If) Ils-· ,2024.
                                                 CKB;Z:~
         Dated:
    12
                                       By:
    13                                           :Mi'chael 1. Kim, Esq
                                                 Steven Cho, Esq.
    14                                           Attorneys for Defendants
    15

    16

    17

    18

    19
    20

   21

   22

   23

   24

   25

   26
   27

   28
                                                     4
                                             Joint Witness List
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      1   Kenneth J. Catanzarite (SBN 113750)
          Email: kcatanzarite@catanzarite.com
      2   Brandon E. Woodward (SBN 284621)
          Email: bwoodward@catanzarite.com
      3   CA T ANZARITE LA W CORPORATION
          2331 West Lincoln Avenue
      4   Anaheim, California 92801
          Telephone: (714) 520-5544
     ,5   Facsimile: (714) 520-0680

      6   Attorneys for Plaintiff and
          Movant
      7
      8                            IN THE SUPERIOR COURT OF CALIFORNIA

      9                                 FOR THE COUNTY OF SAN BERNARDINO

      o RONNIE D. JORDAN, an individual,                   Case No. CIVSB2201281

     11                    Plaintiff,                      Assigned for All Purposes to
                                                           Hon. Wilfred J. Schneider, J1'.
     12   v.                                               Dept. S32

     13   THE ORIGINAL MOWBRAY'S TREE
          SERVICE, INCORPORATED, et aI,                    [PROPOSED] JURY INSTRUCTIONS
     14
                           Defendants.
     15                                                    Filed:            January 18, 2022
                                                           Trial:            October 21, 2024
     16

     17
          AND RELATED CASE NO.
     18   LLTVA2201963

     19

     20                                   [PROPOSED] JURY INSTRUCTIONS

     21                                             I. FACE PAGE

     22        Inst. No.                                   Title                                 Given
                                                                                                (Yes/No)
     23
                                PRETRIAL INSTRUCTIONS
     24
           CACI. 100            Preliminary Admonitions
     25                         Overview of Trial
           CACI. 101
     26    CACI. 102            Taking Notes During the Trial
     27    CACI. 103            Multiple Parties

     28    CACI. 104            Nonperson Party


                                              [Proposed] Jury Instructions
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    1
            Inst. No.                                Title                    Given
                                                                             (YeslNo)
    2
         CACI. 105      Insurance
    3
         CACI. 106      Evidence
    4
         CACI. 107      Witnesses
    5    CACI. 109      Removal of Claims or Parties
    6    CACI. 110      Service Provider for Juror With Disability
    7    CACI. 111      Instruction to Alternate Jurors

    8    CACI. 112      Questions From Jurors
        CACI.113        Bias
    9
        CACI.114        Bench Conferences and Conferences in Chambers
   10
        CACI.116        Why Electronic Communications and Research Are
   11                   Prohibited

   12   CAC!.117        Wealth of Parties
        CAC!. 118       Personal Pronouns
   13
                        EVIDENCE INSTRUCTIONS
   14
        CACI. 200       Obligation to Prove-More Likely True Than Not True
   15
        CAC!. 201       Highly Probable-Clear and Convincing Proof
   16   CAC!. 202       Direct and Indirect Evidence
   17   CAC!. 203       Party Having Power to Produce Better Evidence

   18   CAC!. 204       Willful Suppression of Evidence

   19   CAC!. 205       Failure to Explain or Deny Evidence
        CACI. 206       Evidence Admitted for Limited Purpose
   20
        CAC!. 207       Evidence Applicable to One Party
   21
        CAC!. 208       Deposition as Substantive Evidence
   22
        CACI.209        Use ofInterrogatories of a Party
   23   CAC!.210        Requests for Admissions
   24   CACI.212        Statements of a Party Opponent

   25   CACI.213        Adoptive Admissions
        CAC!.215        Exercise of a Communication Privilege
   26
        CAC!.219        Expert Witness Testimony
   27
        CACI.220        Experts-Questions Containing Assumed Facts
   28
                                                    2.
                                      [Proposed] Jury Instructions
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    1
           Inst. No.                                 Title                           Given
                                                                                    (Yes/No)
    2
        CACI.221        Conflicting Expert Testimony
    3
        CACI.223        Opinion Testimony of Lay Witness
    4
                        CONTRACTS INSTRUCTIONS
    5   CACI.300        Breach of Contract-Introduction
    6   CACI.302        Contract Formation-Essential Factual Elements
    7   CACI.303        Breach of Contract-Essential Factual Elements

    8   CACI.304        Oral or Written Contract Terms
        CACI.305        Implied-in-Fact Contract
    9
        CACI.306        Unfonnalized Agreement
   10
        CACI.310        Contract Formation-Acceptance by Silence
   11
        CACI.313        Modification
   12   CACI.318        Interpretation-Construction by Conduct
   13   CACI.320        Interpretation-Construction Against Drafter
   14   CACI.325        Breach of Implied Covenant of Good Faith and Fair
                        Dealing-Essential Factual Elements
   15
        CACI.350        Introduction to Contract Damages
   16   CACI.351        Special Damages
   17   CACI.361        Reliance Damages
   18   CACI.380        Agreement Fonnalized by Electronic Means-Unifonn
                        Electronic Transactions Act (Civ. Code, § 1633.1 et seq.)
   19
        SPECIAL-1       Contract Restraining Engagement of Profession or Business
   20                   Is Void (Business & Professions Code, § 16600.)
                        FRAUD OR DECEIT INSTRUCTIONS
   21
        CACI.1902       False Promise
   22
        CACI.1904       Opinions as Statements of Fact
   23
        CACI.1907       Reliance
   24   CACI.1908       Reasonable Reliance
   25                   WRONGFUL TERM INATION

   26   CACI.2404       Breach of Employment Contract-Unspecified
                        Term-"Good Cause" Defined
   27   CACI.2420       Breach of Employment Contract-Specified
                        Term-Essential Factual Elements
   28
                                                     3.
                                        [Proposed] Jury Instructions
Case 8:24-bk-12674-TA   Doc 141-1 Filed 10/25/24 Entered 10/25/24 13:22:23           Desc
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    1
           Inst. No.                                   Title                          Given
                                                                                     (YeslNo)
    2
        CACI.2423       Breach ofImplied Covenant of Good Faith and Fair
    3                   Dealing-Employment Contract-Essential Factual
                        Elements
    4
        CACI.2430       Wrongful Discharge in Violation of Public Policy-Essential
    5                   Factual Elements (ILLEGAL SETTLEMENT)

    6   CACI.2710       Solicitation of Employee by Misrepresentation-Essential
                        Factual Elements (Labor Code, §970)
    7                   DAMAGES
    8   CACI.3900       Introduction to Tort Damages-Liability Contested
    9   CACI.3901       Introduction to Tort Damages-Liability Established

   10   CACI.3902       Economic and Noneconomic Damages
        CACI.3903       Items of Economic Damage
   11
        CACI.3903P      Damages From Employer for Wrongful Discharge
   12                   (Economic Damage)
   13   CACI.3925       Arguments of Counsel Not Evidence of Damages

   14   CACI.3933       Damages From Multiple Defendants
        CACI.3934       Damages on Multiple Legal Theories
   15
        CACI.3935       Prejudgment Interest (Civil Code, § 3288)
   16
        CACI.3943       Punitive Damages Against Employer or Principal for
   17                   Conduct of a Specific Agent or Employee-Trial Not
                        Bifurcated
   18
        CACI.3947       Punitive Damages-Individual and Entity Defendants-Trial
   19                   Not Bifurcated
        CACI.3964       Jurors Not to Consider Attorney Fees and Court Costs
   20
                        CONCLUDING INSTRUCTIONS
   21
        CACI.5000       Duties of the Judge and Jury
   22
        CACI.5002       Evidence
   23   CACI.5003       Witnesses
   24   CACI.5004       Service Provider for Juror With Disability
   25   CACI.5005       Multiple Parties

   26   CACI.5006       Nonperson Party
        CACI.5007       Removal of Claims or Parties and Remaining Claims and
   27                   Parties
   28   CACI.5009       Predeliberation Instructions
                                                       4.
                                      [Proposed] Jury Instructions
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    1
           lnst. No.                                   Title                             Given
                                                                                        (YeslNo)
    2
        CACI.5010       Taking Notes During the Trial
    3
        CACI.5011       Reading Back of Trial Testimony in Jury Room
    4
        CACI.5012       Introduction to Special Verdict Form
    5   CACI.5014       Substitution of Alternate Juror
    6   CACI.5015       Instruction to Alternate Jurors on Submission of Case to Jury
    7   CACI.5016       Judge's Commenting on Evidence

    8   CACI.5017       Polling the Jury
        CACI.5019       Questions From Jurors
    9
        CACI.5020       Demonstrative Evidence
   10
        CACI.5021       Electronic Evidence
   11
        CACI.5022       Introduction to General Verdict Fonn
   12   CACI.5090       Final Instruction on Discharge of Jury
   13                   VERDICT FORMS
   14   CACI.VF-300     Breach of Contract

   15   CACI.VF-304     Breach ofImplied Covenant of Good Faith and Fair Dealing
        CACLVF-1902     False Promise
   16
        SPCL.VF-l       Contract Restraining Engagement of Profession or Business
   17                   Is Void (Business & Professions Code, §16600.)

   18   CACLVF-2404     Employment-Breach of the Implied Covenant of Good
                        Faith and Fair Dealing
   19
        CACLVF-2406     Wrongful Discharge in Violation of Public Policy
   20   CACLVF-2704     Solicitation of Employee by Misrepresentation (Labor Code,
                        §970)
   21
        CACLVF-5001     General Verdict Form-Single Plaintiff-Single
   22                   Defendant-Multiple Causes of Action

   23   CACLVF-3900     Punitive Damages

   24   CACLVF-3901     Punitive Damages Against Employer or Principal for
                        Conduct of a Specific Agent or Employee
   25   CACLVF-3902     Punitive Damages-Entity Defendant
   26   CACLVF-3920     Damages on Multiple Legal Theories

   27   SPECIAL -2      J oint Employer Relationship
        SPECIAL -3      Definition of Employer
   28
                                                     5.
                                        [Proposed] Jury Instructions
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    1                                                                         Given
            Inst. No.                                Title
                                                                             (YeslNo)
    2
         SPECIAL -4      Alter Ego Relationship
    3
                              II. [PROPOSED] JURY INSTRUCTIONS
    4
                                              (ATTACHED)
    5

    6   DATED: October 16, 2024            CATANZARITE LAW CORPORATION
    7
                                  By:
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   28
                                                     6.
                                        [Proposed] Jury Instructions
